        Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 1 of 117



                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                        PHILADELPHIA DIVISION

JENNIFER SWEDA, BENJAMIN A.
WIGGINS, ROBERT L. YOUNG, FAITH
PICKERING, PUSHKAR SOHONI, AND
                                                   No. 2:16-cv-04329-GEKP
REBECCA N. TONER, individually and as
representatives of a class of participants
and beneficiaries on behalf of the University      AMENDED COMPLAINT—
of Pennsylvania Matching Plan,                     CLASS ACTION

                          Plaintiffs,
v.                                                 JURY TRIAL DEMANDED

THE UNIVERSITY OF PENNSYLVANIA,
INVESTMENT COMMITTEE, AND JACK
HEUER,

                          Defendants.

                             AMENDED COMPLAINT

        1.    Plaintiffs Jennifer Sweda, Benjamin A. Wiggins, Robert L. Young,

Faith Pickering, Pushkar Sohoni, and Rebecca N. Toner, individually and as

representatives of a class of participants and beneficiaries in the University of

Pennsylvania Matching Plan (“Plan”), bring this action under 29 U.S.C. §1132(a)(2)

on behalf of the Plan against Defendants University of Pennsylvania and Jack

Heuer for breach of fiduciary duties under ERISA.1

        2.    ERISA’s fiduciary duties “are those of trustees of an express trust—the

highest known to the law.” Donovan v. Bierwirth, 680 F.2d 263, 271, 272 n.8 (2d Cir.

1982); Solis v. Koresko, 884 F. Supp. 2d 261, 292 (E.D. Pa. 2012); 29 U.S.C.


 1   The Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461.
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 2 of 117



§1104(a). An ERISA fiduciary “is duty-bound "to make such investments and only

such investments as a prudent [person] would make of his own property. . . .’” In re

Unisys Sav. Plan Litig., 74 F.3d 420, 434 (3d Cir. 1996) (quoting Restatement

(Second) of Trusts § 227 (1959)). Fiduciaries must “initially determine, and continue

to monitor, the prudence of each investment option available to plan participants,”

DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 423 (4th Cir. 2007) (emphasis original),

and must “remove imprudent ones” within a reasonable time, Tibble v. Edison Int’l,

135 S. Ct. 1823, 1828–29 (2015).

      3.     The marketplace for retirement plan services is established and

competitive. Billion-dollar-defined contribution plans, like the Plan—which is

among the largest 0.02% of defined contribution plans in the United States—have

tremendous bargaining power to demand low-cost administrative and investment

management services. As a fiduciary to the Plan, Defendants are obligated to limit

the Plan’s expenses to a reasonable amount, to ensure that each fund in the Plan is

a prudent option for participants to invest their retirement savings and priced at a

reasonable level for the size of the Plan; and to analyze the costs and benefits of

alternatives for the Plan’s administrative and investment structure. Defendants

must make those decisions for the exclusive benefit of participants, and not for the

benefit of conflicted third parties, such as the Plan’s service providers.

      4.     Instead of using the Plan’s bargaining power to limit expenses to a

reasonable amount and exercising independent judgment to determine what

investments to include in the Plan, Defendants squandered that leverage by




                                           2
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 3 of 117



allowing the Plan’s conflicted third party service providers—TIAA-CREF and

Vanguard—to dictate the Plan’s investment lineup, to link their recordkeeping

services to the placement of investment products in the Plan, and to collect

unlimited asset-based compensation from their own proprietary products. As a

result, Defendants allowed unreasonable expenses to be charged to participants for

administration of the Plan, and retained investments with excessive costs and poor

performance compared to available alternatives, thereby causing the Plan and

participants to suffer significant losses of retirement savings.

      5.       To remedy these fiduciary breaches, Plaintiffs, individually and as

representatives of a class of participants and beneficiaries of the Plan, bring this

action on behalf of the Plan under 29 U.S.C. §1132(a)(2) to enforce Defendants’

personal liability under 29 U.S.C. §1109(a) to make good to the Plan all losses

resulting from each breach of fiduciary duty and to restore to the Plan any profits

made through Defendants’ use of Plan assets. In addition, Plaintiffs seek such other

equitable or remedial relief for the Plan as the Court may deem appropriate.

                           JURISDICTION AND VENUE

      6.       Subject-matter jurisdiction. This action arises under federal law, 29

U.S.C. §1132(a)(2). This Court has jurisdiction under 28 U.S.C. §1331 and 29 U.S.C.

§1132(e)(1).

      7.       Venue. This District is the proper venue for this action under 29

U.S.C. §1132(e)(2) and 28 U.S.C. §1391(b) because it is the district in which the

subject Plan is administered, where at least one of the alleged breaches took place,

and where at least one defendant resides.

                                            3
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 4 of 117



      8.     Standing. An action under §1132(a)(2) allows recovery only for a plan,

and does not provide a remedy for individual injuries distinct from plan injuries.

LaRue v. DeWolff, Boberg & Assocs., 552 U.S. 248, 256 (2008). The plan is the victim

of any fiduciary breach and the recipient of any recovery. Id. at 254. Section

1132(a)(2) authorizes any participant, fiduciary, or the Secretary of Labor to sue

derivatively as a representative of the plan to seek relief on behalf of the plan. 29

U.S.C. §1132(a)(2). As explained in detail below, the Plan suffered millions of

dollars in losses caused by Defendants’ fiduciary breaches and remain exposed to

harm and continued future losses, and those injuries may be redressed by a

judgment of this Court in favor of Plaintiffs. To the extent the Plaintiffs must also

show an individual injury even though §1132(a)(2) does not provide redress for

individual injuries, each Plaintiff has suffered such an injury, in at least the

following ways:

            a. The named Plaintiffs and all participants in the Plan suffered

                  financial harm as a result of the imprudent or excessive-fee options

                  in the Plan because Defendants’ inclusion of those options deprived

                  participants of the opportunity to grow their retirement savings by

                  investing in prudent options with reasonable fees, which would have

                  been available in the Plan if Defendants had satisfied their fiduciary

                  obligations. All participants continue to be harmed by the ongoing

                  inclusion of these imprudent and excessive-cost options and

                  payment of excessive recordkeeping fees.




                                            4
Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 5 of 117



     b. The named Plaintiffs and all participants in the Plan were

        financially harmed by Defendants’ improper bundling of some of the

        Plan’s investment products, improperly allowing the companies who

        did recordkeeping for the Plan to require inclusion of their

        investment products in the Plan, instead of each investment option

        being independently selected.

     c. The named Plaintiffs’ individual accounts in the Plan were further

        harmed by Defendants’ breaches of fiduciary duties because one or

        more of the named Plaintiffs during the proposed class period (1)

        invested in underperforming options including the CREF Stock and

        TIAA Real Estate accounts—which were in the Plan because of

        improperly bundling with TIAA’s recordkeeping services and which

        Defendants also failed to remove from the Plan when it was clear

        from past poor performance and their excessive fees that they were

        imprudent investments—at a time when those options

        underperformed numerous prudent alternatives in which the assets

        would have been invested had Defendants not breached their

        fiduciary duties, (2) invested in excessive-cost investment options,

        including funds that paid revenue sharing to the Plan’s

        recordkeepers and higher-cost share classes of Plan mutual funds

        priced for small investors when far lower-cost but otherwise

        identical share classes of the same mutual funds were available




                                  5
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 6 of 117



               based on the enormous size of the Plan, resulting in a loss of

               retirement savings, and (3) through their investments in those

               mutual funds and other investments and the fees charged on their

               investments in those funds, paid a portion of the Plan’s excessive

               administrative and recordkeeping fees, which would not have been

               incurred had defendants discharged their fiduciary duties to the

               Plan, resulting in a loss of retirement savings.

                                      PARTIES

                The University of Pennsylvania Matching Plan

      9.     The Plan is a defined contribution, individual account, employee

pension benefit plan under 29 U.S.C. §1002(2)(A) and §1002(34).

      10.    The Plan is established and maintained under a written document in

accordance with 29 U.S.C. §1102(a)(1). The Plan was most recently amended and

restated effective January 1, 2009.

      11.    The Plan provides for retirement income benefits for certain employees

of the University of Pennsylvania. That retirement income depends upon deferrals

of the employee’s compensation, contributions made on behalf of each employee by

his or her employer, and performance of investment options net of fees and

expenses.

      12.    As of December 31, 2014, the Plan had $3.8 billion in net assets and

21,412 participants with account balances. It is among the largest 0.02% of all

defined contribution plans in the United States based on total assets. Plans of such

great size are commonly referred to as “jumbo plans.” As such, the Plan has


                                          6
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 7 of 117



enormous bargaining power by reason of its massive size to command very low

investment management and recordkeeping fees for its participants.

                                     Plaintiffs

      13.    Jennifer Sweda resides in Philadelphia, Pennsylvania, She is a

Librarian in the Catalog Department at Van Pelt Library. She is a participant in

the Plan under 29 U.S.C. §1002(7) because she and her beneficiaries are or may

become eligible to receive benefits under the Plan.

      14.    Benjamin A. Wiggins resides in Minneapolis, Minnesota. He was

formerly a Director of Distance Learning Initiatives in University of Pennsylvania’s

Department of Online Learning. He is a participant in the Plan under 29 U.S.C.

§1002(7) because he and his beneficiaries are or may become eligible to receive

benefits under the Plan.

      15.    Robert L. Young resides in Upper Darby, Pennsylvania. He is a Staff

Physical Therapist in University of Pennsylvania’s Department of Nursing Life

Program. He is a participant in the Plan under 29 U.S.C. §1002(7) because he and

his beneficiaries are or may become eligible to receive benefits under the Plan.

      16.    Faith Pickering resides in Exton, Pennsylvania. She is a Cardio

Vascular Clinical Manager of Research in University of Pennsylvania’s Heart

Failure Heart Transplant Department. She is a participant in the Plan under 29

U.S.C. §1002(7) because she and her beneficiaries are or may become eligible to

receive benefits under the Plan.

      17.    Pushkar Sohoni resides in Philadelphia, Pennsylvania. He is a South

Asia Studies Librarian at the University of Pennsylvania Libraries. He is a

                                          7
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 8 of 117



participant in the Plan under 29 U.S.C. §1002(7) because he and his beneficiaries

are or may become eligible to receive benefits under the Plan.

      18.    Rebecca N. Toner resides in Philadelphia, Pennsylvania. She is a

Language Specialist in University of Pennsylvania’s English Language Programs.

She is a participant in the Plan under 29 U.S.C. §1002(7) because she and her

beneficiaries are or may become eligible to receive benefits under the Plan.

                                    Defendants

      19.    The University of Pennsylvania, incorporated as the Trustees of the

University of Pennsylvania, is a non-profit corporation organized under

Pennsylvania law with its principal place of business in Philadelphia, Pennsylvania.

The University of Pennsylvania is the fiduciary responsible for the control,

management and administration of the Plan, in accordance with 29 U.S.C. §1102(a).

The University of Pennsylvania, acting through its Board of Trustees, has primary

responsibility and discretionary authority to control the operation, management

and administration of the Plan, with all powers necessary to enable the University

to properly carry out such responsibilities, including the selection and compensation

of the providers of administrative services to the Plan and the selection, monitoring,

and removal of the investment options made available to participants for the

investment of their contributions and provision of their retirement income.

      20.    The University of Pennsylvania is a fiduciary to the Plan because it is

a “named fiduciary” under the Plan and because it exercised discretionary authority

or discretionary control respecting the management of the Plan or exercised

authority or control respecting the management or disposition of its assets, and has

                                          8
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 9 of 117



discretionary authority or discretionary responsibility in the administration of the

Plan, as described more fully below. 29 U.S.C. §1002(21)(A)(i) and (iii).

      21.    The University of Pennsylvania, through its Board of Trustees,

appointed an Investment Committee as a named fiduciary with the authority and

responsibility over investment matters, including but not limited to responsibility

for the selection, monitoring, and removal of Plan investment options and providers.

The members of the Investment Committee are appointed by the University of

Pennsylvania, acting through its Board of Trustees.

      22.    The Investment Committee is a fiduciary to the Plan because it is a

“named fiduciary” under the Plan and because it exercised discretionary authority

or discretionary control respecting the management of the Plan or exercised

authority or control respecting the management or disposition of its assets, and has

discretionary authority or discretionary responsibility in the administration of the

Plan, as described more fully below. 29 U.S.C. §1002(21)(A)(i) and (iii).

      23.    The University of Pennsylvania appointed the Vice President of

Human Resources of the University of Pennsylvania to serve as the Plan

Administrator under 29 U.S.C. §1002(16)(A)(i). The Plan Administrator is a named

fiduciary responsible for Plan-related matters including, but not limited to

interpreting the Plan’s provisions, resolving questions about eligibility to

participate in the Plan, making decisions about claims for benefits, and establishing

rules and procedures for the Plan’s operation. The Plan Administrator may delegate




                                           9
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 10 of 117



responsibility for any aspect of the Plan’s administration to other individuals or

entities.

       24.       Jack Heuer is the current Vice President of Human Resources of the

University of Pennsylvania and serves as the Plan Administrator.

       25.       The Vice President of Human Resources is a fiduciary to the Plan

because it is a named fiduciary under the Plan and because it exercised

discretionary authority or discretionary control respecting the management of the

Plan or exercised authority or control respecting the management or disposition of

its assets, and has discretionary authority or discretionary responsibility in the

administration of the Plan, as described more fully below. 29 U.S.C. §1002(21)(A)(i)

and (iii).

       26.       Because Jack Heuer, the Investment Committee and its members, and

any delegates described above have acted as alleged herein as the agents of the

University of Pennsylvania, all defendants are collectively referred to hereafter as

Defendants.

                               ERISA’S FIDUCIARY STANDARDS

       27.       ERISA imposes strict fiduciary duties of loyalty and prudence upon the

Defendants as fiduciaries of the Plan. 29 U.S.C. §1104(a)(1). The statute states, in

relevant part, that:

             [A] fiduciary shall discharge his duties with respect to a plan solely in the
             interest of the participants and beneficiaries and –

                 (A)    for the exclusive purpose of
                        (i)    providing benefits to participants and their beneficiaries;
                  and
                        (ii)     defraying reasonable expenses of administering the plan;

                                               10
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 11 of 117




             [and]

             (B)     with the care, skill, prudence, and diligence under the
                     circumstances then prevailing that a prudent man acting in a
                     like capacity and familiar with such matters would use in the
                     conduct of an enterprise of like character and with like aims.

      28.    Under ERISA, fiduciaries that exercise any authority or control over

plan assets, including the selection of plan investments and service providers, must

act prudently and for the exclusive benefit of participants in the plan, and not for

the benefit of third parties including service providers to the plan such as

recordkeepers and those who provide investment products. Fiduciaries must ensure

that the amount of fees paid to those service providers is no more than reasonable.

DOL Adv. Op. 97-15A; DOL Adv. Op. 97-16A; see also 29 U.S.C. §1103(c)(1) (plan

assets “shall be held for the exclusive purposes of providing benefits to participants

in the plan and their beneficiaries and defraying reasonable expenses of

administering the plan”).

      29.    When making investment decisions, an ERISA fiduciary “is duty-

bound "to make such investments and only such investments as a prudent [person]

would make of his own property. . . .’” In re Unisys, 74 F.3d at 434 (quoting

Restatement (Second) of Trusts § 227 (1959)). “[T]he duty to conduct an

independent investigation into the merits of a particular investment” is “the most

basic of ERISA’s investment fiduciary duties.” In re Unisys Savings Plan Litig., 74

F.3d 420, 435 (3d Cir. 1996). A defined contribution plan fiduciary cannot “insulate

itself from liability by the simple expedient of including a very large number of




                                          11
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 12 of 117



investment alternatives in its portfolio and then shifting to the participants the

responsibility for choosing among them.” Hecker v. Deere & Co., 569 F.3d 708, 711

(7th Cir. 2009). Instead, fiduciaries must “initially determine, and continue to

monitor, the prudence of each investment option available to plan participants.”

DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 423 (4th Cir. 2007) (emphasis original);

see also 29 C.F.R. § 2550.404a-1; DOL Adv. Opinion 98-04A; DOL Adv. Opinion 88-

16A. Fiduciaries have “a continuing duty to monitor investments and remove

imprudent ones” within a reasonable time. Tibble, 135 S. Ct. at 1828–29.

      30.    The general fiduciary duties imposed by 29 U.S.C. §1104 are

supplemented by a detailed list of transactions that are expressly prohibited by 29

U.S.C. §1106, and are considered per se violations because they entail a high

potential for abuse. Section 1106(a)(1) states, in pertinent part, that:

         [A] fiduciary with respect to a plan shall not cause the plan to engage in a
         transaction, if he knows or should know that such transaction constitutes a
         direct or indirect –

             (A)    sale or exchange, or leasing, of any property between the plan
             and a party in interest;
             ***
             (C)    furnishing of goods, services, or facilities between the plan and
             party in interest;
             (D)    transfer to, or use by or for the benefit of a party in interest, of
             any assets of the plan…

      31.    ERISA also imposes explicit co-fiduciary liabilities on plan fiduciaries.

29 U.S.C. §1105(a) provides a cause of action against a fiduciary for knowingly

participating in a breach by another fiduciary and knowingly failing to cure any

breach of duty. The statute states, in relevant part, that:




                                           12
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 13 of 117



      In addition to any liability which he may have under any other provisions of
      this part, a fiduciary with respect to a plan shall be liable for a breach of
      fiduciary responsibility of another fiduciary with respect to the same plan in
      the following circumstances:

                    (1)   if he participates knowingly in, or knowingly undertakes
                          to conceal, an act or omission of such other fiduciary,
                          knowing such act or omission is a breach; [or]

                    (2)   if, by his failure to comply with section 1104(a)(1) of this
                          title in the administration of his specific responsibilities
                          which give rise to his status as a fiduciary, he has enabled
                          such other fiduciary to commit a breach; or

                    (3)   if he has knowledge of a breach by such other fiduciary,
                          unless he makes reasonable efforts under the
                          circumstances to remedy the breach.

      32.    29 U.S.C. §1132(a)(2) authorizes a plan participant to bring a civil

action to enforce a breaching fiduciary’s liability to the plan under 29 U.S.C. §1109.

Section 1109(a) provides in relevant part:

         Any person who is a fiduciary with respect to a plan who breaches any of
         the responsibilities, obligations, or duties imposed upon fiduciaries by this
         subchapter shall be personally liable to make good to such plan any losses
         to the plan resulting from each such breach, and to restore to such plan
         any profits of such fiduciary which have been made through use of assets of
         the plan by the fiduciary, and shall be subject to such other equitable or
         remedial relief as the court may deem appropriate, including removal of
         such fiduciary.

                              BACKGROUND FACTS

I.    Defined contribution plans, services, and fees.

      33.    “Defined contribution plans dominate the retirement plan scene

today.” LaRue v. DeWolff, Boberg & Assocs., 552 U.S. 248, 255 (2008). In the private

sector, such plans have largely replaced the defined benefit pension plans that were



                                          13
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 14 of 117



America’s retirement system when ERISA was enacted in 1974.

      34.    Each participant in a defined contribution plan has an individual

account, and directs their plan contributions into one or more investment options in

a lineup chosen by the plan’s fiduciaries. “[P]articipants’ retirement benefits are

limited to the value of their own individual investment accounts, which is

determined by the market performance of employee and employer contributions,

less expenses.” Tibble, 135 S. Ct. at 1826.

      35.    The majority of fees assessed to participants in a defined contribution

plan are attributable to two general categories of services: plan administration

(including recordkeeping), and investment management. These expenses “can

sometimes significantly reduce the value of an account in a defined-contribution

plan.” Id.

      36.    The plan’s fiduciaries have control over these expenses. The fiduciaries

are responsible for hiring administrative service providers, such as a recordkeeper,

and negotiating and approving those service providers’ compensation. The

fiduciaries also have exclusive control over the menu of investment options to which

participants may direct the assets in their accounts. Those selections each have

their own fees which are deducted from the returns that participants receive on

their investments.

      37.    These fiduciary decisions have the potential to dramatically affect the

amount of money that participants are able to save for retirement. According to the

U.S. Department of Labor, a 1% difference in fees over the course of a 35-year




                                          14
       Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 15 of 117



career makes a difference of 28% in savings at retirement. U.S. Dep’t of Labor, A

Look at 401(k) Plan Fees, at 1–2 (Aug. 2013).2 Accordingly, fiduciaries of defined

contribution plans must engage in a rigorous process to control these costs and

ensure that participants pay no more than a reasonable level of fees. This is

particularly true for multi-billion dollar plans like the Plan, which have the

bargaining power to obtain the highest level of service and the lowest fees. The fees

available to multi-billion dollar retirement plans are orders of magnitude lower

than the much higher retail fees available to small investors.

        38.    The entities that provide services to defined contribution plans have an

incentive to maximize their fees by putting their own higher-cost funds in plans and

collecting the highest amount possible for recordkeeping. For each additional dollar

in fees paid to a service provider, participants’ retirement savings are directly

reduced by the same amount, and participants lose the potential for those lost

assets to grow over the remainder of their careers. Accordingly, participants’

retirement security is directly affected by the diligence used by plan fiduciaries to

control, negotiate, and reduce the plan’s fees.

        39.    Fiduciaries must be cognizant of providers’ self-interest in maximizing

fees, and not simply accede to the providers’ preferred investment lineup—i.e.,

proprietary funds that will generate substantial fee revenue for the provider—or

agree to the provider’s administrative fee quotes without negotiating or considering

alternatives. In order to act in the exclusive interest of participants and not in the



 2   Available at http://www.dol.gov/ebsa/pdf/401kfeesemployee.pdf.

                                           15
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 16 of 117



service providers’ interest, fiduciaries must negotiate as if their own money was at

stake. Instead of simply accepting the investment funds or fees demanded by these

conflicted providers, fiduciaries must consider whether participants would be better

served by using alternative investment products or services.

    A.         Recordkeeping

         40.     Recordkeeping is a service necessary for every defined contribution

plan. The recordkeeper keeps track of the amount of each participant’s investments

in the various options in the plan, and typically provides each participant with a

quarterly account statement. The recordkeeper often maintains a plan website or

call center that participants can access to obtain information about the plan and to

review their accounts. The recordkeeper may also provide access to investment

education materials or investment advice. These services are largely commodities,

and the market for recordkeeping services is highly competitive.

         41.     There are numerous recordkeepers in the marketplace who are capable

of providing a high level of service and who will vigorously compete to win a

recordkeeping contract for a jumbo defined contribution plan. These recordkeepers

will readily respond to a request for proposal and will tailor their bids based on the

desired services (e.g., recordkeeping, website, call center, etc.). In light of the

commoditized nature of their services, recordkeepers primarily differentiate

themselves based on price, and will aggressively bid to offer the best price in an

effort to win the business, particularly for jumbo plans like the Plan.

    B.         Investment options

         42.     Defined contribution fiduciaries determine the available investment


                                             16
        Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 17 of 117



options in a plan. Each investment option is typically a pooled investment product,

such as a mutual fund, and invests in a diversified portfolio of securities in a broad

asset class such as fixed income, bonds, or equities.

        43.    Investment options can be passively or actively managed. In a

passively managed or “index” fund, the investment manager attempts to match the

performance of a given benchmark index by holding a representative sample of

securities in that index, such as the S&P 500. In an actively managed fund, the

investment manager uses her judgment in buying and selling individual securities

(e.g., stocks, bonds, etc.) in an attempt to generate investment returns that surpass

a benchmark index, net of fees. Because no stock selection or research is necessary

for the manager to track the index and trading is limited, passively managed

investments charge significantly lower fees than actively managed funds.

        44.    Mutual fund fees are usually expressed as a percentage of assets under

management, or “expense ratio.” For example, if the mutual fund deducts 1% of

fund assets each year in fees, the fund’s expense ratio would be 1%, or 100 basis

points (bps).3 The fees deducted from a mutual fund’s assets reduce the value of the

shares owned by fund investors.

        45.     Many mutual funds offer their investors different share classes. Retail

share classes are marketed to individuals with small amounts to invest.

Institutional share classes are offered to investors with large amounts to invest,

such as large retirement plans. The different share classes of a given mutual fund



 3   One basis point is equal to 1/100th of one percent (or 0.01%).

                                            17
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 18 of 117



have the identical manager, are managed identically, and invest in the same

portfolio of securities. The only difference is that the retail shares charge

significantly higher fees, resulting in retail class investors receiving lower returns.

The share classes are otherwise identical in all respects.

      46.    Some mutual funds engage in a practice known as “revenue sharing.”

In a revenue-sharing arrangement, a mutual fund pays a portion of its expense

ratio to the entity providing administrative and recordkeeping services to a plan,

putatively as compensation for providing those services. The difference in fees

between a mutual fund’s retail and institutional share classes is often attributable

to revenue sharing. To illustrate, a fund’s retail share class may have an expense

ratio of 100 bps, including 25 bps of revenue sharing, while the institutional share

charges 75 bps, with no or lesser revenue sharing. The presence of revenue sharing

thus provides an incentive for administrative service providers to recommend that

the fiduciary select higher cost funds, including in-house funds of the

administrative service provider that pay the provider revenue sharing. “[V]ery little

about the mutual fund industry,” including revenue sharing practices, “can

plausibly be described as transparent[.]” Leimkuehler v. Am. United Life Ins. Co.,

713 F.3d 905, 907 (7th Cir. 2013).

      47.    The importance of fees in prudent investment selection cannot be

overstated. The prudent investor rule developed in the common law of trusts, which

which informs ERISA’s fiduciary duties, emphasizes “the duty to avoid

unwarranted costs[.]” Restatement (Third) of Trusts ch. 17, intro. note (2007); see




                                           18
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 19 of 117



Tibble, 135 S. Ct. at 1828 (discussing Restatement (Third) of Trusts §90 in finding a

continuing duty to monitor under ERISA). As the Restatement explains, “cost-

conscious management is fundamental to prudence in the investment function.”

Restatement (Third) of Trusts § 90 cmt. b. While a fiduciary may consider higher-

cost, actively-managed mutual funds as an alternative to index funds, “active

management strategies involve investigation expenses and other transaction costs .

. . that must be considered, realistically, in relation to the likelihood of increased

return from such strategies.” Restatement (Third) of Trusts ch. 17, intro. note; id. §

90 cmt. h(2).

      48.       Academic and financial industry literature demonstrates that high

expenses are not correlated with superior investment management. As discussed in

University of Pennsylvania’s law review, numerous studies show that “the most

consistent predictor of a fund’s return to investors is the fund’s expense ratio[.]” Jill

E. Fisch, Rethinking the Regulation of Securities Intermediaries, 158 U. PA. L. REV.

1961, 1993 (2010). Indeed, funds with high fees on average perform worse than less

expensive funds even on a pre-fee basis. Javier Gil-Bazo & Pablo Ruiz-Verdu, When

Cheaper is Better: Fee Determination in the Market for Equity Mutual Funds, 67 J.

ECON. BEHAV. & ORG. 871, 873 (2008). The empirical evidence shows that “low-

quality funds charge higher fees,” such that “[p]rice and quality thus seem to be

inversely related in the market for actively managed mutual funds.” Id. at 883.

(emphasis added).

      49.       In light of this effect of fees on expected returns, fiduciaries must




                                             19
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 20 of 117



carefully consider whether the added cost of actively-managed funds is realistically

justified by an expectation of higher returns. Restatement (Third) of Trusts ch. 17,

intro. note; id. § 90 cmt. h(2). A prudent investor will not select higher-cost actively

managed funds without analyzing whether a particular investment manager is

likely to beat the overwhelming odds against outperforming its benchmark index

over time, net of the fund’s higher investment expenses.

II.   403(b) plans share common fiduciary duties with 401(k) plans.

      50.    Defined contribution plans can qualify for favored tax treatment under

different sections of the Internal Revenue Code. Plans offered by corporate

employers typically qualify under 26 U.S.C. §401(k), and are commonly referred to

as 401(k) plans. Tax-exempt organizations, public schools (including state colleges

and universities), and churches are eligible to offer plans qualified under §403(b),

commonly known as 403(b) plans. 26 U.S.C. §403(b)(1)(A).

      51.    403(b) plans sponsored by tax-exempt organizations such as private

universities are subject to Title I of ERISA and its fiduciary requirements, unless

the plan satisfies a 1979 “safe-harbor” regulation based on the employer having

limited involvement in operating the plan. 29 C.F.R. §2510.3-2(f). To the best of

Plaintiffs’ knowledge, the Plan has never qualified for the safe harbor, and thus has

long been subject to ERISA’s fiduciary requirements. In the Plan’s annual reports

(Forms 5500) filed with the Department of Labor, Defendants have acknowledged

the Plan is subject to ERISA.

      52.    Although 401(k) plans and 403(b) plans have different historical

origins, legislative and regulatory developments over several decades largely eroded

                                           20
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 21 of 117



those differences, as reflected in final 403(b) regulations published by the IRS on

July 26, 2007, which became effective January 1, 2009. These regulations required

certain employers, such as those that previously qualified for the safe harbor, to

become more involved with administering their plans than they had previously,

potentially disqualifying those plans from ERISA safe harbor status and subjecting

the plans to ERISA fiduciary requirements for the first time. However, for plans

like the Plans that were already subject to ERISA’s fiduciary requirements because

they were never safe-harbor plans, the IRS regulations had no effect on the Plans’

status for ERISA fiduciary purposes; ERISA already required Defendants to be

actively involved in exercising care, prudence, skill, and diligence in administering

the Plans for the exclusive benefit of participants.

      53.    Regardless of any historical differences between 401(k) and 403(b)

plans, it is clear that both types of plans have the same fundamental purpose:

allowing employees to save for a secure retirement. The duties of fiduciaries in both

are the same: to operate as a financial expert familiar with investment practices, to

operate the plan for the exclusive benefit of employees and retirees, and to make

sure that fees are reasonable and investments are prudent. Participants in both

types of plans depend on their plan fiduciaries to ensure that those savings are not

depleted by excessive fees or imprudent investments. Accordingly, the historical

differences and investment limitations of 403(b) plans do not allow 403(b)

fiduciaries to exercise a lesser degree of care or attention to fees and investments

than their 401(k) counterparts.




                                          21
       Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 22 of 117



III.   Fiduciaries of 403(b) plans that historically offered multiple
       recordkeepers and a large number of their proprietary investments
       have now rejected that model.

       54.   As the Department of Labor recognized in connection with the new IRS

regulations, historically, many 403(b) sponsors had treated their plans as a

collection of individual contracts under which employees could take various actions

without the consent or involvement of the employer or plan administrator, instead

of fiduciaries evaluating investment options placed in the plan. Field Assistance

Bulletin 2009-02.

       55.   Some 403(b) plans historically before 2009 included multiple bundled

service providers, with each performing the recordkeeping function for its own

investment products in the plan, unlike 401(k) plans which had a single

recordkeeper. In fact, “403(b) plan investment options were often ‘sold’ by record

keepers and their representatives rather than offered by plan sponsors as evaluated

investments.” Fiduciary Plan Governance, LLC, Legacy Investments in Higher

Education: What is a Plan Sponsor’s Responsibility to Participants?4 Indeed,

sponsors of these plans often took a “‘hands off’ approach to plan oversight.” Id. This

practice resulted in plans having excessive recordkeeping costs and structures

involving multiple recordkeepers with each recordkeeper having its own investment

options in the plan. This left participants with the task of navigating a haphazard

collection of duplicative and overlapping investment options from the various

recordkeepers, and ultimately led to them paying excessive and unnecessary fees,


 4http://www.fiduciaryplangovernance.com/blog/legacy-investments-in-higher-
education-what-is-a-plan-sponsors-responsibility-to-participants.

                                          22
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 23 of 117



both for recordkeeping and for investment products in the plans. Id. In some cases

the recordkeeper insisted on its own funds being included in the plan without any

resistance or analysis of those funds by the fiduciaries.

      56.    Under the 2007 final regulations that became effective January 1,

2009,5 certain employers with 403(b) plans were compelled to exercise greater

control over their 403(b) plans than they had previously. The regulations are

expressly intended to make 403(b) plans more like 401(k) plans.

      57.    Once the final regulations were published, many 403(b) plan

fiduciaries recognized that fulfilling their fiduciary obligations—whether on an

ongoing basis or for the first time—required them to engage, if they had not already

been doing so, in a comprehensive review of their plans’ fees, investment options

and structure, and service provider arrangements, to determine whether changes

had to be made for the benefit of participants.

      58.    As a result, the fiduciaries of many 403(b) plans implemented dramatic

overhauls to their plans and acknowledged that these changes were necessary to

comply with the IRS regulations and to satisfy their fiduciary obligations under

ERISA.

      59.    For example, the fiduciaries of the Loyola Marymount University

(LMU) Defined Contribution Plan, a 403(b) plan, recognized that under the new

regulations, “Recordkeeping must be consolidated and/or managed by a single




 5403(b) plan sponsors had almost a year and a half to make changes necessary to
comply before the regulation became effective January 1, 2009.

                                          23
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 24 of 117



party.”6 “Keeping two on-going record keepers in 2009 would mean that faculty/staff

would pay higher fees and receive reduced services.”7 Thus, in 2008, to assist LMU

in assessing the plan’s investment options and recordkeeping services, LMU hired

an independent third party consultant, Hewitt Associates (n/k/a AonHewitt), to

issue a request for proposal to seven different 403(b) recordkeeping providers,

including AIG Retirement, Diversified Investment Advisors, Fidelity, ING, Lincoln

Financial Group, Principal Financial Group, and TAA-CREF.8 LMU consolidated

from two recordkeepers to one effective on the date the final regulation became

effective, January 1, 2009. Loyola Marymount’s fiduciaries recognized that a dual

recordkeeper structure would require its employees to pay higher fees for

overlapping services, and because consultants, legal counsel, and all of the

recordkeeping firms interviewed recommended that LMU use only one record

keeper, starting in January 2009.9 Moreover, LMU selected Diversified as the new

recordkeeper because Diversified “is not an investment manager and therefore, does

not require that certain investment options be offered by LMU.” LMU was therefore

able to offer “best in class” funds in each fund category.10

      60.    Similarly, the fiduciaries of the Pepperdine University Retirement

Plan reviewed their plan after the IRS 403(b) regulations were published and

recognized the implications of maintaining four different recordkeepers. In order to


 6 See LMU 403(b) Retirement Plan Project Overview, at 1, available at
http://www.lmu.edu/AssetFactory.aspx?vid=33038.
 7 Id. at 2.
 8 See http://www.lmu.edu/AssetFactory.aspx?vid=32045.
 9 LMU 403(b) Retirement Plan Project Overview, at 2.
 10 Id. at 6.



                                           24
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 25 of 117



comply with its fiduciary responsibilities, Pepperdine determined that it must make

certain changes to the plan, including “[c]onsolidating recordkeeping (by having one

fund provider manage administration for multiple providers or by moving to a sole

administrator scenario).”11 Pepperdine retained an independent third party

consultant to assist the fiduciaries in issuing a request for proposal to 403(b)

recordkeeping providers. Following the competitive bidding process, effective

February 1, 2009, Pepperdine selected Diversified, a recordkeeper which does not

offer proprietary investments, as the “sole administrator” and consolidated from

four recordkeepers (Fidelity, TIAA-CREF, Vanguard, and Prudential) to a single

recordkeeper. Pepperdine found that the benefits of consolidation included lower

costs and more robust services, as well as a streamlined compliance process and

simplified data coordination.12 Pepperdine acknowledged that maintaining a

multiple-vendor platform was not a “cost-effective, viable option.”13 Recognizing the

inefficiencies and overlapping work in a multiple recordkeeper arrangement,

Pepperdine determined that costs were “higher in a multivendor arrangement,

because each vendor receives only a portion of the ongoing total plan contributions,”

while a single provider allowed to “realize true economies of scale.”14

      61.    Pepperdine also recognized that the bundled model demanded by



 11  See Pepperdine University Participant Q & A, available at
http://community.pepperdine.edu/hr/content/benefits/fulltime/faq.pdf.
  12 Id.
  13 Paul B. Lasiter, Single Provider, Multiple Choices, NACUBO, available at

http://www.nacubo.org/Business_Officer_Magazine/Magazine_Archives/March_2010
/Single_Provider_Multiple_Choices.html.
  14 Id.



                                          25
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 26 of 117



certain providers was not in participants’ interest. Using those providers “meant

being obligated to offer some or all of that provider’s proprietary funds on the plan's

investment menu—whether or not those investments offered participants the best

range of choice, value, and relative performance.” 15 (emphasis added). Acting in

participants’ interest required that the fiduciaries instead have the ability to select

those “funds that the university—working with an independent financial adviser—

could identify as being the ‘best options in their respective asset classes.’”16 After

weighing and analyzing a variety of factors, Pepperdine determined that

“consolidating with a single vendor has been the straightforward solution to

achieving” the objective of acting “for the exclusive benefit of plan participants.” The

benefits of consolidation included “[a] better fiduciary process with ongoing

evaluation” of plan investments, “[e]conomies of scale,” and “[g]reater transparency

of fees and lowered costs for plan participants.”17

          62.   In the fall of 2008, in response to the new, not yet effective regulations

and required changes within the defined contribution industry, Purdue University

began a comprehensive review of its defined contribution retirement program.

Purdue recognized that “[t]he primary intent of the regulations was to reduce the

difference between Section 403(b) plans, Section 401(k) plans and Section 457(b)

plans; to enhance 403(b) plan compliance; and to establish a more structured




 15 Id.
 16 Id.
 17 Id.



                                             26
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 27 of 117



retirement program for employees in the non-profit sector.” 18 Purdue hired an

independent third party consultant, EnnisKnupp & Associates (n/k/a AonHewitt), to

assist the fiduciaries in evaluating the investment options, participants’ fees, and

recordkeeping services, which included developing and issuing an RFP to

recordkeepers. The “benefits” of Purdue’s program enhancements included the

transition from five providers (TIAA-CREF, Fidelity, American Century, Lincoln,

and VALIC) to a single administrative service provider (Fidelity) with a

corresponding significant reduction in recordkeeping expenses. The reformed plan

“[p]rovided a transparent investment and administrative fee structure” and

“[l]everaged plan assets to lower administrative and investment fees, including

access to institutional share class funds and a flat administrative fee, instead of

administrative fees as a percentage of retirement savings.” Purdue reduced the

number of investment options from 381 to 19, “eliminating redundant investment

options with varying levels of expenses” and replacing the menu of duplicative

investment options with “a limited menu of pre-screened, broadly diversified

investment options.”19 Purdue’s analysis showed that “reducing administrative and

investment plan fees under the new structure for a plan of Purdue’s size, would

increase participant balances by an estimated $3–4 million per year which is then

compounded over time.” Id. (emphasis added).


 18 James S. Almond, 403(b) Plan Redesign–Making a Good Retirement Plan Better,
Purdue University (emphasis added), available at http://www.cacubo.org/wp-
content/uploads/2016/02/10_403b_Plan_Redesign_Making_a_Good_Retirement_Pla
n_Better.docx.
 19 Id.



                                          27
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 28 of 117



      63.    Likewise, California Institute of Technology (CalTech) TIAA-CREF DC

Retirement Plan consolidated from multiple recordkeepers (TIAA-CREF and

Fidelity) to a single recordkeeper (TIAA-CREF) effective January 1, 2010, with the

assistance of an independent third party consultant, Mercer Investment

Consulting.20 In selecting a core set of investment options for the plan, CalTech

eliminated over 100 Fidelity mutual fund options. Based on disclosures in the plan’s

Forms 5500 filed with the Department of Labor, between 2013 and 2015, CalTech

negotiated over $15 million in revenue sharing rebates from TIAA-CREF, which

was returned to the plan to benefit participants.

      64.    Extensive industry literature shows that these plan sponsors are not

outliers. Rather, their actions are consistent with the actions of similarly situated

fiduciaries of other defined contribution plans, including 403(b) plans, who have

also comprehensively reviewed their plans and reduced recordkeeping and

investment management fees and consolidated recordkeepers and investment

options, leading to enhanced retirement security for their plans’ participants.

      65.    In connection with a plan redesign project at the University of Notre

Dame, independent investment consultant Hewitt EnnisKnupp (n/k/a AonHewitt)

issued a “403(b) Plan Redesign Working Paper” which set forth 403(b) fiduciary best

practices taken in response to the IRS 403(b) regulations.21 Hewitt noted that



 20 Caltech Names TIAA-CREF Recordkeeper, Institutional Investor (Dec. 10, 2009),
available at http://www.institutionalinvestor.com/Article/2355324/Search/Caltech-
Names-TIAA-CREF-Record-Keeper.html#/.WBn8Oy0rKpp.
 21 Hewitt EnnisKnupp, 403(b) Plan Redesign Working Paper: University of Notre

Dame (Feb. 2014), available at https://workplacecontent.fidelity.com/bin-

                                          28
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 29 of 117



“[w]ith the issuance of new Internal Revenue Service regulations in 2008, there has

been an accelerated evolution of the 403(b) marketplace into something that more

closely resembles the private sector 401(k) market.”22

      66.    Hewitt noted several areas of plan improvements. First, recordkeeper

consolidation provided “many benefits to participants,” including cost savings.

Although the multiple-recordkeeper model had been common in the higher-

education marketplace, “[e]xperience and research suggests that this type of

administrative structure can be costly and confusing to faculty and staff.”23 “The

multiple-recordkeeper model tends to divide participant assets into individual

accounts held at separate recordkeepers resulting in costs that are meaningfully

higher than under a single recordkeeper model.”24 Such “[e]xcess fees and

misallocated costs are a potential threat to the financial security of many defined

contribution plan participants.”25

      67.    Second, Hewitt recommended that plans “unbundl[e]” investment

management and administrative services, and to replace revenue sharing

arrangements with “explicit, hard dollar administrative fee[s].” Hewitt’s “experience

and research suggests that the transparency gained through an ‘unbundled’

administrative fee solution with little or no revenue sharing typically results in




public/070_NB_PreLogin_Pages/documents/ND_403(b)%20Plan%20Redesign%20W
hite%20Paper.pdf.
 22 Id. at 3.
 23 Id. at 4.
 24 Id. at 5.
 25 Id.



                                          29
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 30 of 117



meaningful fee savings for participants.”26 An unbundled arrangement allows plan

fiduciaries “to determine whether or not the internal administrative fee allocations

used by the existing bundled recordkeepers is a true representation of the costs of

these services.” Id. An unbundled arrangement also provided opportunities to

incorporate “‘institutional’ share classes of funds” into the investment lineup.

      68.    Further, according to a 2013 survey of 403(b) plans, more than 90% of

plans use a single recordkeeper to provide administrative and recordkeeping

services to participants. See LIMRA Retirement Research, 403(b) Plan Sponsor

Research (2013).27

      69.    Annual surveys by Plan Sponsor Council of America found that in each

year from 2010 through 2014, unlike the Plan, the overwhelming majority of 403(b)

plans—over 80%—have only a single recordkeeper, and provide an average of 28

investment fund options.28 An earlier PSCA survey of 403(b) plans found that as of

2009, 57% of 403(b) plan fiduciaries had made changes to their plans as a result of

the new 403(b) regulations that became effective January 1, 2009.29

      70.    The majority of plans use a single recordkeeper because a “multi-


 26  Id. at 6.
 27  Available at
http://www.limra.com/uploadedFiles/limracom/LIMRA_Root/Secure_Retirement_Ins
titute/News_Center/Reports/130329-01exec.pdf.
  28 Each PSCA survey covers the year prior to the year indicated in the title.

PSCA’s 2015 Benchmarking Survey of 403(b) Plans, at 32, 65; PSCA’s 2014
Benchmarking Survey of 403(b) Plans, at 32, 61; PSCA’s 2013 Benchmarking
Survey of 403(b) Plans, at 32, 61, 64; PSCA’s 2013 Benchmarking Survey of 403(b)
Plans, at 32, 61, 64; PSCA’s 2012 Benchmarking Survey of 403(b) Plans, at 30, 61,
64; PSCA’s 2012 Benchmarking Survey of 403(b) Plans, at 30, 61, 64; PSCA’s 2011
Benchmarking Survey of 403(b) Plans, at 28, 55, 59.
  29 PSCA’s 2010 Benchmarking Survey of 403(b) Plans at 45.



                                          30
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 31 of 117



recordkeeper platform is inefficient” and squanders the ability to leverage a

plan’s bargaining power. The Standard Retirement Services, Inc., Fixing Your

403(b) Plan: Adopting a Best Practices Approach, at 2 (Nov. 2009)(emphasis in

original).30 “By selecting a single recordkeeper, plan sponsors can enhance their

purchasing power and negotiate lower, transparent investment fees for

participants,” while allowing participants to “benefit from a more manageable

number of institutional-quality investment options to choose from.”31 Additional

benefits of a single recordkeeper platform include simplifying personnel and payroll

data feeds, reducing electronic fund transfers, and avoiding duplication of services

when more than one recordkeeper is used.

      71.    AonHewitt, an independent investment consultant, similarly

recognized that “403(b) plan sponsors can dramatically reduce participant-borne

costs while improving employees’ retirement readiness by” “[c]onsolidating

recordkeepers,” “[l]everaging aggregate plan size and scale to negotiate competitive

pricing, and reducing the number of investment options and “utilizing an ‘open

architecture’ investment menu[.]” AonHewitt, How 403(b) Plans Are Wasting Nearly

$10 Billion Annually, and What Can Be Done to Fix It (Jan. 2016).32

      72.    Another independent investment consultant, Towers Watson, also



 30 Available at https://www.standard.com/pensions/publications/14883_1109.pdf.
 31 Id.
 32 Available at

https://retirementandinvestmentblog.aon.com/getattachment/36ff81a4-db35-4bc0-
aac1-
1685d2a64078/How_403(b)_Plans_are_Wasting_Nearly_$10_Billion_Annually_Whit
epaper_FINAL.pdf.aspx.

                                         31
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 32 of 117



recognized that using multiple recordkeepers makes it “difficult for employers to

monitor available choices and provide ongoing oversight” while harming

participants through “high investment and administrative costs” and a lack of

guidance needed to achieve retirement readiness. Peter Grant and Gary Kilpatrick,

Higher Education’s Response to a New Defined Contribution Environment, TOWERS

WATSON VIEWPOINTS, at 2 (2012).33

      73.    The recommendations of these independent, widely used investment

consultants are buttressed by other industry literature supporting the fact that the

use of a single recordkeeper provides reasonable fees. See, e.g., Kristen Heinzinger,

Paring Down Providers: A 403(b) Sponsor’s Experience, PLANSPONSOR (Dec. 6,

2012)(“One advantage of consolidating to a single provider was an overall drop in

administrative fees and expenses. Recordkeeping basis points returned to the plan

sponsors rather than to the vendor. All plan money aggregated into a single

platform, and participants were able to save on fee structure. This also eliminated

the complications and confusion of having three different recordkeepers.”); 34 Paul B.

Lasiter, Single Provider, Multiple Choices, BUSINESS OFFICER (Mar.

2010)(identifying, among other things, the key disadvantages of maintaining a

multi-provider platform including the fact that it is “cumbersome and costly to




 33 Available at
https://www.towerswatson.com/DownloadMedia.aspx?media=%7B08A2F366-14E3-
4C52-BB78-8930F598FD26%7D.
 34 Available at http://www.plansponsor.com/paring-down-providers-a-403b-

sponsors-experience/?fullstory=true.

                                         32
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 33 of 117



continue overseeing multiple vendors.”).35

      74.    Use of a single recordkeeper is also less confusing to participants and

eliminates excessive, overlapping recordkeeping fees. Vendor Consolidation in

Higher Education: Getting More from Less, PLANSPONSOR (July 29,

2010)(recognizing the following benefits, among others: “The plan participant

experience is better” because “employees are benefiting from less confusion as a

result of fewer vendors in the mix”; “Administrative burden is lessened” by

“bringing new efficiencies to the payroll”; and “Costs can be reduced” because

“[w]ith a reduced number of vendors in the equation, plan sponsors are better able

to negotiate fees” and many are “reporting lower overall cost resulting in an

improved cost-per-participant ratio”).36

             DEFENDANTS BREACHED THEIR FIDUCIARY DUTIES
               AND COMMITTED PROHIBITED TRANSACTIONS

      75.    The Plan’s retention of multiple recordkeepers and exclusive use of

those recordkeepers’ proprietary funds—which the recordkeepers required to be

included in the Plan—demonstrates that, in contrast with the comprehensive plan

reviews conducted by the similarly situated fiduciaries described above, Defendants

failed to adequately engage in a similar analysis. Had Defendants conducted such a

review of the Plan, Defendants would not have allowed the Plan to continue to pay

excessive administrative fees; would not have maintained an inefficient multi-


 35  Available at
http://www.nacubo.org/Business_Officer_Magazine/Magazine_Archives/March_2010
/Single_Provider_Multiple_Choices.html.
  36 Available at http://www.plansponsor.com/vendor-consolidation-in-higher-

education/?fullstory=true.

                                           33
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 34 of 117



recordkeeper structure; would not have continued to include over 78–118

investment options in the Plan, including duplicative funds in numerous investment

styles and higher-cost retail share classes for which identical lower-cost versions of

the same funds were available; and would not have retained investment options in

the Plan despite a sustained track record of underperformance. This follows because

a prudent process would have produced a different outcome.

I.    The Plan’s investments and multiple recordkeepers.

      76.    Defendants exercise exclusive control over the investment options that

are included in the Plan, and determine which investment options to remove from

the Plan. Defendants also exercise exclusive control over hiring a recordkeeper for

the Plan, and negotiating and approving the recordkeeper’s compensation.

      77.    Since 2010, the Plan has offered as many as 118 investment options.

As of December 31, 2014, the Plan offered a total of 78 investment options,

including 48 mutual funds managed by the Vanguard Group, Inc. (“Vanguard”), and

30 options managed by TIAA-CREF, including mutual funds, fixed and variable

annuities, and an insurance company separate account. Despite the mammoth size

of the Plan, the mutual funds included retail share classes designed for small

individual investors, which are identical in every respect to institutional share

classes of the same funds, except for much higher fees.

      78.    Both TIAA-CREF and Vanguard serve as the recordkeeper for their

respective proprietary investments.




                                          34
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 35 of 117



      79.    As of December 31, 2014, of the Plan’s $3.8 billion in net assets, $2.5

billion was invested in TIAA-CREF investment options, and $1.3 billion was

invested in Vanguard investment options.

II.   Defendants improperly allowed TIAA-CREF to require its investment
      products to be included in the Plan regardless of the prudence of
      those options and to provide recordkeeping for its proprietary funds.

      80.    TIAA-CREF is an insurance company financial services provider that

historically has dominated the market for services to educational institution 403(b)

plans, and has heavily marketed to them. TIAA-CREF consists of two companion

organizations: Teachers Insurance and Annuity Association of America, and College

Retirement Equities Fund. The services that TIAA-CREF provides to 403(b) plans

include annuities, mutual funds, trust services, and administrative services.

      81.    Although TIAA-CREF’s marketing materials suggest that it is a

“nonprofit” organization, that is misleading. In 1998, Congress revoked both TIAA’s

and CREF’s statuses as tax-deductible 501(c)(3) charitable organizations because

TIAA-CREF “competed directly with for-profit insurance companies and mutual

fund groups.”37 As a result, they are subject to federal income taxation and are not

501(c)(3) charitable organizations.

      82.    While CREF is organized as a New York not-for-profit

corporation, TIAA is organized as a for-profit stock life insurance company. TIAA’s

“operating surplus” is spent, loaned, and otherwise distributed to some of its


 37Reed Abelson, Budget Deal to Cost T.I.A.A.-C.R.E.F. Its Tax Exemption, N.Y.
Times (July 30, 2007), available at
http://www.nytimes.com/1997/07/30/business/budget-deal-to-cost-tiaa-cref-its-tax-
exemption.html.

                                          35
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 36 of 117



subsidiaries as well. An example is, Nuveen Investments, a for-profit investment

manager, which TIAA acquired in April 2014 for an enterprise value of $6.25

billion. TIAA owns and controls numerous for-profit subsidiaries, which send

dividends to TIAA.38

      83.    Consistent with its conduct as a profit-seeking enterprise, the

compensation of TIAA’s CEO and other executives is greater than or close to the

very highest paid executives of some of Wall Street’s largest for-profit investment

managers and insurance companies, such as J.P. Morgan Chase, Prudential,

Deutsche Bank, and Metlife. In 2015, TIAA’s CEO received $18 million in

compensation,39 more than the CEOs of Metlife ($14 million) and Deutsche Bank

($5.2 million), and just below the CEOs of J.P. Morgan Chase ($18.2 million) and

Prudential ($19.9 million). In fact, TIAA’s five highest-ranking “named executive

officers” earned a combined total of well over $40 million in compensation in 2015.

Id. TIAA’s compensation disclosures further state that its employees’ compensation

and benefits programs are linked to “profitability.”40 (emphasis added). When

expressed as a percentage of assets under management, TIAA’s CEO had the very

highest compensation rate among reporting investment companies.


 38 2015 Annual Statement of the Teachers Insurance and Annuity Association of
America 39, 112–19 (Jan. 26, 2016), available at
https://www.tiaa.org/public/pdf/tiaa_annual_statement_2015.pdf; see also
https://www.tiaa.org/public/pdf/C16623_where-tiaa-profits-go.pdf.
 39 TIAA Compensation Disclosures, Executive Compensation Discussion and

Analysis 20 (May 2016), available at
https://www.tiaa.org/public/pdf/about/governance/exec_comp_policy.pdf.
 40 TIAA Compensation Disclosures, Executive Compensation Discussion and

Analysis 3 (May 2016), available at
https://www.tiaa.org/public/pdf/about/governance/exec_comp_policy.pdf.

                                         36
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 37 of 117




                      TIAA-CREF's CEO's Compensation
             Highest Among Reporting Investment Fund Families
                as a Percentage of Assets under Mgmt (AUM)
  0.00250%



  0.00200%



  0.00150%



  0.00100%



  0.00050%



  0.00000%
        TIAA-CREF ($834B AUM)                   Invesco ($784.5B AUM)
        JP Morgan ($1676B AUM)                  Bank of New York Mellon (Dreyfus) ($1700B AUM)
        Deutsche Bank AG ($842B AUM)            Prudential ($1220B AUM)
        Black Rock ($4890B AUM)                 State Street ($2300B AUM)
        Natixis SA ($884.9B AUM)




      84.    TIAA-CREF provided its 403(b) plan services exclusively on a bundled

basis. If a plan wished to offer the fixed TIAA Traditional Annuity, TIAA-CREF

required that the CREF Stock Account and Money Market Account also be put in

the plan, and required the plan to use TIAA as recordkeeper for its proprietary

products.

      85.    ERISA requires fiduciaries to independently evaluate the prudence of

each investment option offered in a defined contribution plan, DiFelice, 497 F.3d at

423, and to remove imprudent investments within a reasonable time, Tibble, 135 S.

Ct. at 1828–29.

      86.    By using TIAA-CREF, Defendants locked the Plan into an

arrangement in advance in which certain investments could not be removed from


                                         37
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 38 of 117



the plan—even if the funds were not prudent investments or would become

imprudent in the future. By accepting this arrangement, Defendants precluded an

open architecture platform in which investments could be selected on their merits,

and not merely because the funds were the recordkeeper’s proprietary products that

the recordkeeper demanded to include in the Plan. By agreeing to TIAA’s bundling

requirement, Defendants subjected the plan to using multiple recordkeepers in

order to offer any non-TIAA-CREF investments. This resulted in an inefficient and

excessively expensive plan structure.

      87.    By causing or allowing the Plan to enter such a bundled arrangement

with TIAA-CREF, Defendants agreed to lock University of Pennsylvania employees

into funds which had not been screened by a fiduciary. It can never be prudent to

lock funds in a plan for the future and to keep them in because of recordkeeping.

Defendants thus failed to discharge their duty to independently evaluate whether

each investment option was prudent for the Plan, and to determine whether the use

of TIAA as a plan recordkeeper was prudent, reasonably priced, and in the exclusive

interest of participants. Instead of acting solely in the interest of participants,

Defendants allowed TIAA’s financial interest to dictate the Plan’s investment

selections and recordkeeping arrangement. Because Defendants allowed the CREF

Stock to be locked into the Plan, Defendants could not satisfy their duty to remove

investments that are no longer prudent within a reasonable time. As a result of

Defendants’ breach in allowing CREF Stock to be retained in the Plan because

TIAA-CREF demanded it and not based on an independent and ongoing assessment




                                           38
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 39 of 117



of the merits of the option, the Plan suffered massive losses compared to prudent

alternatives, as discussed in more detail below.

      88.    The TIAA Traditional Annuity offered in the Plan is a fixed annuity

contract that guarantees principal and a contractually specified minimum interest

rate. Assets invested in the TIAA Traditional Annuity are held in TIAA’s general

account and are backed by the claims-paying ability of TIAA.

      89.    The TIAA Traditional Annuity has severe restrictions and penalties for

withdrawal if participants wish to change their investments in the Plan. For

example, some participants who invest in the TIAA Traditional Annuity may

withdraw or change their investment in a single lump sum within 120 days of

termination of employment, but, to do so, such participants must pay a 2.5%

surrender charge. The only way for participants to withdraw or change their TIAA

Traditional Annuity investment without paying this substantial penalty is to

spread withdrawal over a ten-year period.

      90.    The Plan’s CREF Stock Account, CREF Global Equities Account,

CREF Equity Index Account, CREF Growth Account, CREF Social Choice Account,

CREF Money Market Account, and CREF Bond Market Account are variable

annuities, which invest in underlying securities for a given investment mandate.

The value of each participant’s investment in the variable annuity changes over

time based on investment performance and expenses of the account.

      91.    The expense ratio of the CREF variable annuity accounts is made up of

multiple layers of expense charges called:




                                         39
        Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 40 of 117



              a. “administrative expense” charge (24 bps);41

              b. “distribution expense” charge (9.5 bps);

              c. “mortality and expense risk” charge (0.5 bps); and

              d. “investment advisory expense” charge (ranging from 4 bps to 12.5 bps).

        92.      Two of these four layers of fees charged on the CREF variable annuity

accounts, including the CREF Stock Account, are unreasonable for the actual

services provided by TIAA-CREF to the Plan’s participants, and the other two

provide no benefit to the Plan’s participants.

           a.    Administrative expenses (or recordkeeping fees): The

           administrative fee assessed on each variable annuity option is charged as a

           percentage of assets, rather than a flat fee per participant. Recordkeeping

           costs depend on the number of participant accounts that the recordkeeper

           will service in the plan rather than the size of assets because a higher

           account balance costs no more to track than a lower account balance. As a

           result, as the growth in the Plan’s assets outpaced the growth in

           participants, the fees paid to TIAA-CREF likewise increased even though

           the services provided did not increase at the same rate, resulting in further

           unreasonable compensation.

           b. Distribution expenses (or 12b-1 fees): Distribution expenses are

           charged for services performed for marketing and advertising of the fund to

           potential investors. However, in a retirement plan, the funds are selected



 41   Expenses are as of May 1, 2014.

                                             40
Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 41 of 117



  by the sponsor. Thus, marketing and distribution services provide no

  benefit to plan participants and are wholly unnecessary. Being charged for

  such wholly useless expenses causes a loss of retirement assets to

  participants with no benefit.

  c.   Mortality and expense risk charges: Some annuity or insurance

  providers charge mortality and expense risk charges to compensate the

  insurance company for the risk it assumes when providing periodic income

  or payments to the investor over her lifetime, which will vary depending on

  the value of the underlying investments. However, in the CREF variable

  annuities in the Plan, the participant does not make the choice of whether

  to take the account’s value in a lump sum or an annuity until retirement.

  Thus, this charge only benefits a participant if she elects at the time of

  retirement to annuitize her holdings in the account to provide for periodic

  income. Prior to annuitizing her account, the participant derives no benefit

  for paying such a charge, year after year, and TIAA-CREF provides no

  actual services or incurs any risk to justify the fee until a decision is made

  at retirement to convert the value of the lump sum to an annuity.

  Moreover, most participants in retirement plans recordkept by TIAA-

  CREF do not elect to annuitize their holdings in their variable annuity

  accounts upon retirement. Yet, all participants pay these fees for many

  years regardless of whether they annuitize their variable annuity account.




                                   41
Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 42 of 117



  d. Investment advisory expense charge (or investment

  management fees): It is a fundamentally established principle of

  investment management that larger asset size enables the asset holder to

  obtain lower investment management fees as a percentage of assets. Fund

  managers institute breakpoints, whereby the investment management fee

  is reduced, as asset size goes up, at pre-specified asset thresholds to pass

  along economies of scale to the investor. For example, if $5 million is a

  breakpoint, one fee, based on a percentage of assets, will be charged on the

  first $5 million, and a lesser percentage will be charged on the next portion

  of the assets, or on all assets. A large investor will therefore be charged a

  lower fee, on a percentage of assets, than a smaller investor to recognize

  the economies of scale generated from the higher asset levels. Jumbo plans,

  such as the Plan, can command extremely low fees. Despite this recognized

  principle, TIAA-CREF has not instituted any breakpoints whatsoever on

  its investment management fees to pass along economies of scale

  experienced by jumbo plan investors. The Plan’s fiduciaries did not obtain

  the lower investment management fees that come with the Plan’s

  enormous asset size. As a result, the Plan, with billions of dollars invested

  in CREF variable annuities, pay the same asset-based fee as the smallest

  clients with a tiny fraction of their total assets, resulting in a windfall to

  TIAA-CREF and excessive fees paid by employees and retirees in the Plan.




                                    42
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 43 of 117



      93.      The excessiveness of this investment management fee is even more

egregious because of the way critics have documented CREF “manages” the CREF

Stock Account by investing nearly two out of every three dollars in companies held

by its benchmark index, the Russell 3000 Index. 42

      94.      The TIAA Real Estate Account is an insurance separate account

maintained by TIAA-CREF. An insurance separate account is a pooled investment

vehicle that aggregates assets from more than one retirement plan, but is

segregated from the insurance company’s general account assets. Similar to the

CREF variable annuity accounts, the expense ratio of the TIAA Real Estate Account

is made up of the same four layers of excessive expenses detailed above, and even

adds a fifth layer for a so-called “liquidity guarantee.” As of May 1, 2013, these

charges consisted of the following:

            a. “administrative expense” charge (26.5 bps);

            b. “distribution expense” charge (8 bps);

            c. “mortality and expense risk” charge (0.5 bps);

            d. “liquidity guarantee” (18 bps); and

            e. “investment management expense” charge (36.5 bps).

      95.      The 18 bps “liquidity guarantee” expense of the TIAA Real Estate

Account is yet another excessive fee that is not charged by better performing and

lower cost mutual funds such as the Vanguard REIT Index (Inst) which has a total

 42Funding Universe, Teachers Insurance and Annuities Association – College
Retirement Equities Fund History, available at
http://www.fundinguniverse.com/company-histories/teachers-insurance-and-
annuity-association-college-retirement-equities-fund-history/.


                                           43
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 44 of 117



expense ratio of 8 bps. See infra ¶¶Error! Reference source not found.–Error!

Reference source not found..

      96.    The remaining TIAA-CREF funds are mutual funds. The TIAA-CREF

mutual funds charge varying amounts for investment management, but also charge

distribution, marketing, and other expenses, depending on the investment at issue

and share class.

      97.    Thus, Plan participants are paying for marketing costs of funds which

their employer has placed in their retirement plan when such marketing costs

provide no benefit to them. Other mutual funds that were available to the Plan do

not include such marketing costs.

II.   Defendants caused the Plan to pay excessive administrative and
      recordkeeping fees.

      98.    As set forth above, the market for recordkeeping services is highly

competitive and there are numerous recordkeepers in the market who can provide a

high level of service to large defined contribution plan who will readily respond to a

request for proposals.

      99.    The recordkeeper’s cost for providing services depends on the number

of participants in the plan, not the amount of assets in the plan or in an individual

account. The cost of recordkeeping a $75,000 account balance is the same as a

$7,500 account. Accordingly, if a plan fiduciary negotiates a flat price based on the

number of participants in the plan, that ensures that the amount of compensation is

tied to the actual services provided and does not grow based on matters that have




                                          44
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 45 of 117



nothing to do with the services provided, such as an increase in plan assets due to

market growth or greater plan contributions by the employee.

      100.   For example, if a plan has 20,000 participants, a fiduciary could

negotiate a plan-level contract to pay the recordkeeper $700,000 per year, based on

a flat annual fee of $35 per participant account serviced. That rate could then be

assessed either by charging the same $35 to every participant in the plan, or pro

rata as a percentage of assets. If the plan’s assets increase during the contract while

the number of participants stays constant, the recordkeeper’s compensation does

not change, because the services provided have not changed.

      101.   Although paying for recordkeeping with asset-based revenue sharing is

not per se violation of ERISA, it can lead to excessive fees if not monitored and

capped. If a fiduciary allows the plan recordkeeper to be compensated with revenue

sharing from plan mutual funds—which is based on a percentage of assets charged

to fund investors, as discussed supra ¶46—then the payments can become excessive

(or even moreso) based on an increase in plan assets alone, while the services have

not changed. The opposite is generally not true. If plan assets decline, participants

will not receive a sustained benefit of paying lower fees, because the recordkeeper

will demand that the plan make up the shortfall through additional direct

payments.

      102.   Thus, if a fiduciary decides to use revenue sharing to pay for

recordkeeping, it is critical to (1) determine and monitor the amount of the revenue

sharing and any other sources of compensation that the provider has received, (2)




                                          45
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 46 of 117



compare that amount to the price that would be available on a flat per-participant

basis, and (3) control the amount of fees paid through recordkeeping by obtaining

rebates of any revenue sharing amounts that exceed the reasonable level of fees.

      103.    In order to determine the second element—the price that would be

available to the plan on a flat per-participant basis—prudent fiduciaries of jumbo

plans solicit bids from competing providers. For such large plans, bids are

customized based on the particular services required for the plan. Recordkeeping

fees for jumbo plans have also declined significantly in recent years due to increased

technological efficiency, competition, and increased attention to fees by sponsors of

other plans such that fees that may have been reasonable at one time may have

become excessive based on current market conditions. Accordingly, the only way to

determine the true market price at a given time is to obtain competitive bids. See

George v. Kraft Foods Global, Inc., 641 F.3d 786, 800 (7th Cir. 2011) (a 401(k)

excessive fee case which denied summary judgment based in part on the opinion of

an independent consultant that “‘without an actual fee quote comparison’—i.e., a

bid from another service provider—[consultant] ‘could not comment on the

competitiveness of [recordkeeper’s] fee amount for the services provided.’”). Industry

experts recognize that this principle applies fully in the 403(b) context, just as in

the 401(k) context. Compared to benchmarking, “the RFP is a far better way to

negotiate fee and service improvements for higher education organizations.”

Fiduciary Plan Governance, LLC, Buying Power for Higher Education Institutions:




                                           46
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 47 of 117



When you Have It and When You Don’t – Part 2.43 Indeed, “[c]onducting periodic due

diligence RFPs is a critical part of fulfilling the fiduciary duty.” Western PA

Healthcare News, 403(b) Retirement Plans: Why a Due Diligence Request for

Proposal.2 Engaging in in this RFP process “allows plan sponsors . . .to meet their

fiduciary obligations, provides leverage to renegotiate services and fees; enhances

service and investment opportunities and improves overall plan operation.” Id.

Prudent fiduciaries of defined contribution plans—including 403(b) plans—thus

obtain competitive bids for recordkeeping at regular intervals of approximately

three years

      104.    Jumbo defined contribution plans, like the Plan, experience economies

of scale for recordkeeping and administrative services. As the number of

participants in the plan increases, the per-participant fee charged for recordkeeping

and administrative services declines. These lower administrative expenses are

readily available for plans with a great number of participants, such as the Plan.

      105.    Because revenue sharing arrangements provide asset-based fees,

prudent fiduciaries, if they use asset-based charges to pay for recordkeeping at all,

monitor the total amount of revenue sharing a recordkeeper receives to ensure that

the recordkeeper is not receiving unreasonable compensation. A prudent fiduciary

must ensure that the recordkeeper rebates to the plan all revenue sharing

payments that exceed a reasonable recordkeeping fee. Plan fiduciaries must be




 43 http://www.fiduciaryplangovernance.com/blog/buying-power-for-higher-education-
institutions-when-you-have-it-and-when-you-dont-part-2


                                          47
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 48 of 117



aware of and consider the incentive that revenue sharing provides to recordkeepers

to demand that their high priced funds included as plan investment options.

      106.   As set forth above, ¶¶57–74, extensive industry literature and the

experience of similarly situated defined contribution plan fiduciaries has shown

that multiple recordkeeper platforms are inefficient and result in excessive fees,

and that a single recordkeeper platform offers many advantages such as leveraging

the plan’s participant base to ensure that participants pay only reasonable

recordkeeping fees, while also simplifying personnel and payroll data feeds,

reducing electronic fund transfers, and avoiding duplication of services when more

than one recordkeeper is used.

      107.   Despite the long-recognized benefits of a single recordkeeper for a

defined contribution plan, Defendants selected and retained two recordkeepers

(TIAA-CREF and Vanguard). This inefficient and costly structure has caused Plan

participants to pay excessive and unreasonable fees for Plan recordkeeping and

administrative services.

      108.   The Plan’s recordkeepers receive compensation for providing

administrative and recordkeeping services through per-participant fees and revenue

sharing payments from the Plan’s investments. Instead of obtaining a flat per-

participant rate or sufficient rebates of excessive revenue sharing for the Plan,

Defendants allowed these two recordkeepers—TIAA-CREF and Vanguard—to

collect excessive asset-based revenue sharing as payment for administrative

services.




                                          48
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 49 of 117



      109.   Based upon information from sources including industry experts, the

amount of revenue sharing kicked back to the TIAA-CREF recordkeeping entity for

the Plan’s TIAA-CREF investments is set forth below.


      TIAA-CREF Investment                                     Revenue Share

      CREF variable annuity contracts                              24 bps

      Premier share class of TIAA-CREF mutual funds                15 bps

      Retirement share class of TIAA-CREF mutual funds             25 bps

      TIAA Real Estate Account                                   24–26.5 bps

      TIAA Traditional Annuity                                     15 bps


      110.   Vanguard is also compensated for recordkeeping services based on

internal revenue sharing it receives from the Vanguard Investor share class mutual

funds that Defendants included in the Plan, which charged higher fees than the

institutional share classes that were available to the Plan.

      111.   In addition, TIAA-CREF and Vanguard receive additional indirect

compensation, including float, securities lending revenue, distribution fees,

mortality and expense charges, surrender charges, spread, and redemption fees.

      112.   Instead of discharging their fiduciary duties to act prudently and in

the exclusive interest of participants, Defendants served TIAA-CREF’s and

Vanguard’s financial interests. Defendants failed to obtain competitive bids to

determine whether the amounts paid to TIAA-CREF and Vanguard were

reasonable compared to market rates, and to determine whether participants would

benefit from hiring a different recordkeeper with lower fees. Defendants also failed


                                          49
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 50 of 117



to assess whether each of the funds that paid revenue sharing to TIAA-CREF and

Vanguard was a prudent choice for the Plan compared to non-proprietary

alternatives that did not pay such revenue sharing. Instead, Defendants included

funds in the Plan not based on their merits, but because TIAA-CREF and Vanguard

requested the funds’ inclusion. This benefited TIAA-CREF and Vanguard because it

allowed them to collect revenue sharing and investment management fees from

their proprietary investment funds, but did not benefit participants.

      113.   Defendants were also required under ERISA to determine and monitor

all sources of TIAA-CREF’s and Vanguard’s compensation, and to ensure that the

compensation was limited to a reasonable amount for the services provided. Had

Defendants discharged those duties, they would not have selected and retained as

Plan investments options proprietary funds of the Plan’s recordkeepers while failing

to consider non-proprietary alternatives, and would not have allowed the Plan to

pay excessive sums for recordkeeping. Defendants’ failure to properly monitor and

cap the recordkeepers’ compensation caused the Plan to pay excessive

recordkeeping fees, as follows.

      114.   Experts in the recordkeeping industry with vast experience in

requests for proposals and information for similar plans have determined the

market rate that the Plan likely would have been able to obtain had the fiduciaries

put the Plan’s recordkeeping services out for competitive bidding. Based on the

Plan’s features, the nature and type of administrative services provided by

Vanguard and TIAA-CREF, the Plan’s participant level (roughly 20,000–21,400),




                                         50
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 51 of 117



and the recordkeeping market, the outside limit of a reasonable recordkeeping fee

for the Plan would have been $700,000 to $750,000 (or $35 per participant with an

account balance).

      115.   Based on schedules regarding service provider compensation shown on

the Plan’s publicly available Form 5500s filed with the Department of Labor, and

upon information regarding the rate of internal revenue share allocated to each of

the Plan’s recordkeepers, the Plan paid between $4.4 million and $5.5 million (or

approximately $220 to $250 per participant) per year from 2010 to 2014, over 614%

higher than a reasonable fee for these services, resulting in millions of dollars in

excessive recordkeeping fees each year. The Plan’s recently released 2015 Form

5500 shows that the Plan’s recordkeeping fees continue to be excessive.

      116.   Defendants failed to prudently monitor and control the compensation

paid for recordkeeping and administrative services, particularly the asset-based

revenue sharing received by TIAA-CREF and Vanguard as Plan assets grew. From

the beginning of 2009 to the end of 2014, the Plan’s assets increased from $2.2

billion to over $3.8 billion, an increase of 73%. Because revenue sharing payments

are asset-based, the already excessive compensation paid to the Plan’s

recordkeepers became even more excessive as the Plan’s assets grew, even though

the administrative services provided to the Plan did not increase at a similar rate.

Defendants could have capped the amount of revenue sharing to ensure that any

excessive amounts were returned to the Plan, but failed to do so.




                                          51
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 52 of 117



          117.   To discharge their fiduciary duties, Defendants were required to obtain

sufficient information regarding all sources of compensation received by the Plan’s

recordkeepers, including the amount of any revenue sharing payments, to make an

informed assessment as to whether the amount of compensation was no more than

reasonable for the services provided. Had Defendants accounted for and monitored

those payments, it would have been apparent that TIAA-CREF and Vanguard were

receiving excessive fees and that participants were losing retirement savings as a

result.

          118.   Soliciting competitive bids from other recordkeepers would have

allowed Defendants to reduce the Plan’s excessive recordkeeping fees to reasonable

levels. Had Defendants conducted a competitive bidding process for the Plan’s

recordkeeping services, and not allowed bundling of recordkeeping with the

recordkeepers’ investment products, the process would have resulted in very

substantial reductions in the Plan’s recordkeeping fees, totaling millions of dollars.

This competitive bidding process would have enabled Defendants to select a

recordkeeper charging reasonable fees, negotiate a reduction in recordkeeping fees,

and obtain rebates of any excess expenses paid by participants for recordkeeping

services.

          119.   Aside from the failures to monitor the amount of revenue sharing

payments and to solicit competitive bids, Defendants also failed to negotiate rebates

of excessive fee payments to TIAA-CREF and Vanguard for years. As a specific

example, because the multi-billion dollar Plan paid the same percentage of asset-




                                            52
       Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 53 of 117



based fees as much smaller plans that used TIAA-CREF’s products and services,

Defendants could have demanded “plan pricing” rebates from TIAA-CREF based on

the Plan’s economies of scale. Just as with investment management fees, the Plan’s

size would have enabled Defendants to command a much lower fee. Defendants

could have also demanded similar rebates from Vanguard. Had Defendants

negotiated for these rebates, the Plan’s recordkeeping fees would have been

reduced, avoiding additional losses of retirement savings

       120.   By failing to prudently monitor and control the Plan’s recordkeeping

and administrative fees, particularly the open-ended asset-based revenue sharing

received by TIAA-CREF and Vanguard, and maintaining an inefficient and costly

structure of multiple recordkeepers, Defendants caused the Plan’s participants to

pay excessive and unreasonable fees for recordkeeping and administrative services.

As a result, the Plan and participants lost in excess of $26 million in retirement

savings due to unreasonable recordkeeping fees.44

III.   Defendants caused the Plan to pay wholly unnecessary and excessive
       fees by using higher-cost share classes of Plan mutual funds instead
       of identical versions of the same funds in lower-cost share classes.

       121.   Jumbo retirement plans have massive bargaining power to negotiate

low fees for investment management services. If a plan invests in mutual funds,

fiduciaries must review and consider the available share classes. Because the only

difference between the various share classes is fees, selecting a higher-cost share


 44Plan losses have been brought forward to the present value using the
investment returns of the S&P 500 index to compensate participants who have not
been reimbursed for their losses. This is because the excessive fees participants paid
would have remained in Plan investments growing with the market.

                                          53
        Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 54 of 117



class results in the plan paying wholly unnecessary fees. Accordingly, absent some

compelling reason to opt for the higher-cost version, prudent fiduciaries will select

the lowest-cost share class available to the plan. As a prominent legal counsel to

defined contribution fiduciaries explained:

        The fiduciaries also must consider the size and purchasing power of their
        plan and select the share classes (or alternative investments) that a fiduciary
        who is knowledgeable about such matters would select under the
        circumstances. In other words, the “prevailing circumstances”—such as the
        size of the plan—are a part of a prudent decisionmaking process. The failure
        to understand the concepts and to know about the alternatives could be a
        costly fiduciary breach.

Fred Reish, Class–ifying Mutual Funds, PLANSPONSOR (Jan. 2011).45

        122.   Given that defined contribution plan fiduciaries are held to the

standard of a knowledgeable financial expert, a fiduciary should know the basic

principle that asset size matters, and must review a fund’s prospectus to determine

if a lower-cost chare class of the same fund is available, to avoid saddling the plan

with unnecessary fees.

        123.   Jumbo investors like the Plan can obtain share classes with far lower

costs than retail mutual fund shares. In addition, insurance company pooled

separate accounts are available that can significantly reduce investment fees

charged on mutual fund investments in defined contribution plans.

        124.   Moreover, lower-cost share classes of mutual fund investment options

were readily available to the Plan. Minimum investment thresholds for institutional

share classes are routinely waived by the investment provider if not reached by a


 45   Available at http://www.plansponsor.com/MagazineArticle.aspx?id=6442476537.

                                           54
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 55 of 117



single fund based on the retirement plan’s total investment in the provider’s

platform.

      For large 401(k) plans with over a billion dollars in total
      assets…mutual funds will often waive an investment minimum for
      institutional share classes. It is also common for investment advisors
      representing large 401(k) plans to call mutual funds and request
      waivers of the investment minimums so as to secure the institutional
      shares.

Tibble v. Edison Int’l, No. 07-5359, 2010 U.S. Dist. LEXIS 69119, at *27–28 (C.D.

Cal. July 8, 2010), aff’d 729 F.3d 1110 (9th Cir. 2013).

      125.   In fact, Vanguard expressly “reserves the right to establish higher or

lower minimum amounts for certain investors”, including when the “plan sponsor’s

aggregate assets within the Vanguard Funds will likely generate substantial

economies in the servicing of their accounts.”46

      126.   For Vanguard and TIAA-CREF mutual fund options, as further

support of the routine waiver of investment minimums for large institutional

investors, fiduciaries of other defined contribution plans have successfully

negotiated on behalf of their plan less expensive institutional share classes for a

particular mutual fund option despite that fund not meeting the minimum

investment threshold.

      127.   Defendants knew or should have known that investment providers

would have allowed the Plan to provide lower-cost share classes to participants if

Defendants had asked.


 46See Vanguard Funds Multiple Class Plan, available at
https://www.sec.gov/Archives/edgar/data/1409957/000093247113007109/multiplecla
ssplanvanguardfun.pdf.

                                          55
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 56 of 117



      128.   Despite these far lower-cost options that were available, Defendants

selected and continue to retain Plan investment options with far higher costs than

were and are available for the Plan based on their size, such as separate accounts

and collective trusts. Moreover, Defendants saddled the Plan with unnecessary fees

by using much higher-cost share classes, when a lower-cost share class of the exact

same mutual fund option was available that was identical in every way except that

it charged lower fees. The following table sets forth each higher-cost mutual fund

share class that was included in the Plan during the proposed class period for which

a significantly lower-cost, but otherwise identical, share class of the same mutual

fund was available. The expense ratio identified for the Plan’s investment option

and the lower-cost share class alternative are based on the earliest date during the

proposed class period that the higher-cost fund was included in the Plan:

                                                             Identical
                                                                            Plan’s
    Plan Mutual          Plan       Identical Lower-        Lower-Cost
                                                                            Excess
       Fund              Fee       Cost Mutual Fund           Mutual
                                                                             Cost
                                                             Fund Fee
  Vanguard 500                    Vanguard
  Index Fund             7 bps    Institutional Index          2 bps        250%
  (Signal) (VIFSX)                (Instl Pl) (VIIIX)
  Vanguard Asset                  Vanguard Asset
  Allocation Fund       27 bps    Allocation Fund (Adm)        19 bps        42%
  (Inv) (VAAPX)                   (VAARX)
  Vanguard
                                  Vanguard Balanced
  Balanced Index
                        26 bps    Index Fund (Instl)           8 bps        225%
  Fund (Inv)
                                  (VBAIX)
  (VBINX)
  Vanguard Capital                Vanguard Capital
  Opportunity Fund      48 bps    Opportunity Fund             41 bps        17%
  (Inv) (VHCOX)                   (Adm) (VHCAX)



                                         56
   Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 57 of 117



                                                      Identical
                                                                  Plan’s
  Plan Mutual        Plan       Identical Lower-     Lower-Cost
                                                                  Excess
     Fund            Fee       Cost Mutual Fund        Mutual
                                                                   Cost
                                                      Fund Fee
Vanguard
Developed                     Vanguard Developed
Markets Index        22 bps   Markets Index Fund       6 bps      267%
Fund (Inv)                    (Instl Pl) (VDMPX)
(VDMIX)
Vanguard
Emerging                      Vanguard Emerging
Markets Stock        22 bps   Markets Stock Index      15 bps      47%
Index Fund                    Fund (Instl) (VEMIX)
(Signal) (VERSX)
Vanguard
                              Vanguard Emerging
Emerging
                              Markets Stock Index
Markets Stock        20 bps                            10 bps     100%
                              Fund (Instl Pl)
Index Fund
                              (VEMRX)
(Signal) (VERSX)
Vanguard
                              Vanguard Emerging
Emerging
                              Markets Stock Index
Markets Stock        12 bps                            10 bps      20%
                              Fund (Instl Pl)
Index Fund (Instl)
                              (VEMRX)
(VEMIX)
Vanguard Energy
                              Vanguard Energy
Fund (Inv)           38 bps                            31 bps      23%
                              Fund (Adm) (VGELX)
(VGENX)
Vanguard Equity               Vanguard Equity
Income Fund (Inv)    31 bps   Income Fund (Adm)        22 bps      41%
(VEIPX)                       (VEIRX)
Vanguard
                              Vanguard European
European Stock
                     26 bps   Stock Index Fund         10 bps     160%
Index Fund (Inv)
                              (Instl) (VESIX)
(VEURX)
Vanguard
                              Vanguard Explorer
Explorer Fund        49 bps                            32 bps      53%
                              Fund (Adm) (VEXRX)
(Inv) (VEXPX)




                                    57
   Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 58 of 117



                                                         Identical
                                                                     Plan’s
  Plan Mutual        Plan       Identical Lower-        Lower-Cost
                                                                     Excess
     Fund            Fee       Cost Mutual Fund           Mutual
                                                                      Cost
                                                         Fund Fee
Vanguard
                              Vanguard Extended
Extended Market
                     26 bps   Market Index Fund           8 bps      225%
Index Fund (Inv)
                              (Instl) (VIEIX)
(VEXMX)
Vanguard
                              Vanguard Extended
Extended Market
                     24 bps   Market Index Fund           6 bps      300%
Index Fund (Inv)
                              (Instl Pl) (VEMPX)
(VEXMX)
Vanguard GNMA
                              Vanguard GNMA
Fund (Inv)           23 bps                               13 bps      77%
                              Fund (Adm) (VFIJX)
(VFIIX)
Vanguard Growth               Vanguard Growth and
and Income Fund      32 bps   Income Fund (Adm)           21 bps      52%
(Inv) (VQNPX)                 (VGIAX)
Vanguard Growth               Vanguard Growth
Index Fund           12 bps   Index Fund (Instl)          8 bps       50%
(Signal) (VIGSX)              (VIGIX)
Vanguard Health
                              Vanguard Health Care
Care Fund (Inv)      36 bps                               29 bps      24%
                              Fund (Adm) (VGHAX)
(VGHCX)
Vanguard High-
                              Vanguard High-Yield
Yield Corporate
                     28 bps   Corporate Fund (Adm)        15 bps      87%
Fund (Inv)
                              (VWEAX)
(VWEHX)
Vanguard
Inflation-                    Vanguard Inflation-
Protected            22 bps   Protected Securities        7 bps      214%
Securities Fund               Fund (Instl) (VIPIX)
(Inv) (VIPSX)
Vanguard
                              Vanguard
Institutional
                     4 bps    Institutional Index         2 bps      100%
Index Fund (Instl)
                              Fund (Instl Pl) (VIIIX)
(VINIX)




                                     58
   Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 59 of 117



                                                    Identical
                                                                Plan’s
  Plan Mutual      Plan       Identical Lower-     Lower-Cost
                                                                Excess
     Fund          Fee       Cost Mutual Fund        Mutual
                                                                 Cost
                                                    Fund Fee
Vanguard
                            Vanguard
Intermediate-
                            Intermediate-Term
Term Bond Index    22 bps                            7 bps       214%
                            Bond Index Fund
Fund (Inv)
                            (Instl) (VBIMX)
(VBIIX)
Vanguard
                            Vanguard
Intermediate-
                            Intermediate-Term
Term Bond Index    20 bps                            5 bps       300%
                            Bond Index Fund
Fund (Inv)
                            (Instl Pl) (VBIUX)
(VBIIX)
Vanguard
                            Vanguard
Intermediate-
                            Intermediate-Term
Term Investment    24 bps                            11 bps      118%
                            Investment Grade
Grade Fund (Inv)
                            Fund (Adm) (VFIDX)
(VFICX)
Vanguard
                            Vanguard
Intermediate-
                            Intermediate-Term
Term Treasury      25 bps                            12 bps      108%
                            Treasury Fund (Adm)
Fund (Inv)
                            (VFIUX)
(VFITX)
Vanguard
                             Vanguard
International
                   49 bps   International Growth     33 bps      48%
Growth Fund
                            Fund (Adm) (VWILX)
(Inv) (VWIGX)
Vanguard Large-             Vanguard Large-Cap
Cap Index Fund     26 bps   Index Fund (Instl)       8 bps       225%
(Inv) (VLACX)               (VLISX)
Vanguard Long-
                            Vanguard Long-Term
Term Bond Index
                   22 bps   Bond Index Fund          7 bps       214%
Fund (Inv)
                            (Instl) (VBLLX)
(VBLTX)




                                   59
   Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 60 of 117



                                                     Identical
                                                                 Plan’s
  Plan Mutual      Plan       Identical Lower-      Lower-Cost
                                                                 Excess
     Fund          Fee       Cost Mutual Fund         Mutual
                                                                  Cost
                                                     Fund Fee
Vanguard Long-
                            Vanguard Long-Term
Term Bond Index
                   20 bps   Bond Index Fund           5 bps      300%
Fund (Inv)
                            (Instl Pl) (VBLIX)
(VBLTX)
Vanguard Long-
                            Vanguard Long-Term
Term Investment
                   26 bps   Investment Grade          13 bps     100%
Grade Bond (Inv)
                            Bond (Adm) (VWETX)
(VWESX)
Vanguard Long-
                            Vanguard Long-Term
Term Treasury
                   25 bps   Treasury Fund (Adm)       12 bps     108%
Fund (Inv)
                            (VUSUX)
(VUSTX)
Vanguard Mid-               Vanguard Mid-Cap
Cap Index Fund     26 bps   Index Fund (Instl)        8 bps      225%
(Inv) (VIMSX)               (VMCIX)
Vanguard Mid-               Vanguard Mid-Cap
Cap Index Fund     24 bps   Index Fund (Instl Pl)     6 bps      300%
(Inv) (VIMSX)               (VMCPX)
Vanguard Morgan             Vanguard Morgan
Growth Fund        43 bps   Growth Fund (Adm)         29 bps      48%
(Inv) (VMRGX)               (VMRAX)
Vanguard Pacific            Vanguard Pacific
Stock Index Fund   26 bps   Stock Index Fund          10 bps     160%
(Inv) (VPACX)               (Instl) (VPKIX)
Vanguard
                            Vanguard PRIMECAP
PRIMECAP Fund      45 bps                             36 bps      25%
                            Fund (Adm) (VPMAX)
(Inv) (VPMCX)
Vanguard Prime
                            Vanguard Prime
Money Market
                   23 bps   Money Market Fund         9 bps      156%
Fund (Inv)
                            (Adm) (VMRXX)
(VMMXX)
Vanguard REIT
                            Vanguard REIT Index
Index Fund (Inv)   26 bps                             9 bps      189%
                            Fund (Instl) (VGSNX)
(VGSIX)



                                   60
   Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 61 of 117



                                                     Identical
                                                                 Plan’s
  Plan Mutual      Plan       Identical Lower-      Lower-Cost
                                                                 Excess
     Fund          Fee       Cost Mutual Fund         Mutual
                                                                  Cost
                                                     Fund Fee
Vanguard Short-
                            Vanguard Short-Term
Term Bond Index
                   22 bps   Bond Index Fund           11 bps     100%
Fund (Inv)
                            (Adm) (VBIRX)
(VBISX)
Vanguard Short-
                            Vanguard Short-Term
Term Federal
                   22 bps   Federal Fund (Adm)        12 bps      83%
Fund (Inv)
                            (VSGDX)
(VSGBX)
Vanguard Short-
                            Vanguard Short-Term
Term Investment
                   24 bps   Investment Grade          9 bps      167%
Grade Fund (Inv)
                            Fund (Instl) (VFSIX)
(VFSTX)
Vanguard Short-
                            Vanguard Short-Term
Term Treasury
                   22 bps   Treasury Fund (Adm)       12 bps      83%
Fund (Inv)
                            (VFIRX)
(VFISX)
Vanguard Small-
                            Vanguard Small-Cap
Cap Growth Index
                   26 bps   Growth Index Fund         8 bps      225%
Fund (Inv)
                            (Instl) (VSGIX)
(VISGX)
Vanguard Small-             Vanguard Small-Cap
Cap Index Fund     26 bps   Index Fund (Instl)        8 bps      225%
(Inv) (NAESX)               (VSCIX)
Vanguard Small-             Vanguard Small-Cap
Cap Index Fund     24 bps   Index Fund (Instl Pl)     6 bps      300%
(Inv) (NAESX)               (VSCPX)
Vanguard Small-
                            Vanguard Small-Cap
Cap Value Index
                   26 bps   Value Index Fund          8 bps      225%
Fund (Inv)
                            (Instl) (VSIIX)
(VISVX)
Vanguard Total
                            Vanguard Total Bond
Bond Market
                   12 bps   Market Index Fund         7 bps       71%
Index Fund
                            (Instl) (VBTIX)
(Signal) (VBTSX)



                                   61
   Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 62 of 117



                                                       Identical
                                                                   Plan’s
  Plan Mutual        Plan       Identical Lower-      Lower-Cost
                                                                   Excess
     Fund            Fee       Cost Mutual Fund         Mutual
                                                                    Cost
                                                       Fund Fee
Vanguard Total
                              Vanguard Total Bond
Bond Market
                     11 bps   Market Index Fund         5 bps      120%
Index Fund
                              (Instl Pl) (VBMPX)
(Signal) (VBTSX)
Vanguard Total
                              Vanguard Total Bond
Bond Market
                     7 bps    Market Index Fund         5 bps       40%
Index Fund (Instl)
                              (Instl Pl) (VBMPX)
(VBTIX)
Vanguard Total                Vanguard Total
International                 International Stock
                     22 bps                             10 bps     120%
Stock Index Fund              Index Fund (Instl Pl)
(Inv) (VGTSX)                 (VTPSX)
                              Vanguard
Vanguard Total
                              Institutional Total
Stock Market
                     6 bps    Stock Market Index        2 bps      200%
Index Fund
                              Fund (Instl Pl)
(Signal) (VTSSX)
                              (VITPX)
                              Vanguard
Vanguard Total
                              Institutional Total
Stock Market
                     4 bps    Stock Market Index        2 bps      100%
Index Fund (Instl)
                              Fund (Instl Pl)
(VITSX)
                              (VITPX)
Vanguard U.S.
                              Vanguard U.S. Growth
Growth Fund          45 bps                             29 bps      55%
                              Fund (Adm) (VWUAX)
(Inv) (VWUSX)
Vanguard Value
                              Vanguard Value Index
Index Fund (Inv)     26 bps                             8 bps      225%
                              Fund (Instl) (VIVIX)
(VIVAX)
Vanguard
                              Vanguard Wellesley
Wellesley Income
                     28 bps   Income Fund (Adm)         21 bps      33%
Fund (Inv)
                              (VWIAX)
(VWINX)




                                     62
   Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 63 of 117



                                                     Identical
                                                                 Plan’s
  Plan Mutual       Plan       Identical Lower-     Lower-Cost
                                                                 Excess
     Fund           Fee       Cost Mutual Fund        Mutual
                                                                  Cost
                                                     Fund Fee
Vanguard
                             Vanguard Wellington
Wellington Fund     30 bps                            22 bps      36%
                             Fund (Adm) (VWENX)
(Inv) (VWELX)
Vanguard
                             Vanguard Windsor
Windsor Fund        33 bps                            22 bps      50%
                             Fund (Adm) (VWNEX)
(Inv) (VWNDX)
Vanguard
                             Vanguard Windsor II
Windsor II Fund     35 bps                            27 bps      30%
                             Fund (Adm) (VWNAX)
(Inv) (VWNFX)
TIAA-CREF Bond               TIAA-CREF Bond
Index Fund          28 bps   Index Fund (Instl)       13 bps     115%
(Prem) (TBIPX)               (TBIIX)
TIAA-CREF High-              TIAA-CREF High-
Yield Fund (Prem)   54 bps   Yield Fund (Instl)       39 bps      38%
(TIHPX)                      (TIHYX)
TIAA-CREF
                             TIAA-CREF
International
                    68 bps   International Equity     57 bps      19%
Equity Fund
                             Fund (Instl) (TIIEX)
(Prem) (TREPX)
TIAA-CREF
                             TIAA-CREF
International
                    78 bps   International Equity     57 bps      37%
Equity Fund (Ret)
                             Fund (Instl) (TIIEX)
(TRERX)
TIAA-CREF
                             TIAA-CREF
International
                             International Equity
Equity Index        23 bps                            8 bps      188%
                             Index Fund (Instl)
Fund (Prem)
                             (TCIEX)
(TRIPX)
TIAA-CREF                    TIAA-CREF Large-
Large-Cap Value     64 bps   Cap Value (Instl)        49 bps      31%
(Prem) (TRCPX)               (TRLIX)
TIAA-CREF                    TIAA-CREF Large-
Large-Cap Value     74 bps   Cap Value (Instl)        49 bps      51%
(Ret) (TRLCX)                (TRLIX)



                                    63
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 64 of 117



                                                             Identical
                                                                            Plan’s
    Plan Mutual          Plan       Identical Lower-        Lower-Cost
                                                                            Excess
       Fund              Fee       Cost Mutual Fund           Mutual
                                                                             Cost
                                                             Fund Fee
  TIAA-CREF Mid-                  TIAA-CREF Mid-Cap
  Cap Growth Fund       67 bps    Growth Fund (Instl)           52 bps         29%
  (Prem) (TRGPX)                  (TRPWX)
  TIAA-CREF Mid-                  TIAA-CREF Mid-Cap
  Cap Growth Fund       77 bps    Growth Fund (Instl)           52 bps         48%
  (Ret) (TRGMX)                   (TRPWX)
  TIAA-CREF Mid-                  TIAA-CREF Mid-Cap
  Cap Value Fund        64 bps    Value Fund (Instl)            49 bps         31%
  (Prem) (TRVPX )                 (TIMVX)
  TIAA-CREF Mid-                  TIAA-CREF Mid-Cap
  Cap Value Fund        74 bps    Value Fund (Instl)            49 bps         51%
  (Ret) (TRVRX )                  (TIMVX)
  TIAA-CREF                       TIAA-CREF Small-
  Small-Cap Equity      70 bps    Cap Equity (Instl)            55 bps         27%
  (Prem) (TSRPX)                  (TISEX)
  TIAA-CREF                       TIAA-CREF Small-
  Small-Cap Equity      80 bps    Cap Equity (Instl)            55 bps         45%
  (Ret) (TRSEX)                   (TISEX)

      129.   These lower-cost share classes of the identical mutual funds for the

Plan have been available for years, some dating back to the early 2000s or before.

      130.   Because the share classes have identical portfolio managers,

underlying investments, and asset allocations, and differ only in cost, Defendants’

failure to select the lower-cost share classes for the Plan’s mutual fund options

demonstrates that Defendants failed to prudently consider and use the size and

purchasing power of the Plan when selecting the Plan’s investment options.

      131.   Defendants’ use of the higher-cost share classes instead of the

available lower-cost versions caused millions of dollars in lost retirement savings.



                                          64
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 65 of 117



IV.   Defendants selected and retained a large number of duplicative
      investment options, diluting the Plan’s bargaining power and
      causing the Plan to pay excessive fees.

      132.     Defendants provided a dizzying array of duplicative funds in the same

investment style, thereby depriving the Plan of its bargaining power associated

with offering a single option in each investment style, which significantly reduces

investment fees, and leading to what industry experts have described as “decision

paralysis” for participants. See, e.g., Michael Liersch, Choice in Retirement Plans:

How Participant Behavior Differs in Plans Offering Advice, Managed Accounts, and

Target-Date Investments, T. ROWE PRICE RETIREMENT RESEARCH, at 2 (Apr.

2009)(“Offering too many choices to consumers can lead to decision paralysis,

preventing consumers from making decisions.”). Defendants placed between 78–118

investment options in the core lineup, from the following asset classes: target date

and asset allocation funds, large-cap domestic equities, mid-cap domestic equities,

small-cap domestic equities, international equities, fixed income, money market,

real estate, and fixed guaranteed annuity.

      133.     In comparison, according to Callan Investments Institute’s 2015

Defined Contribution Trends survey, defined contribution plans in 2014 had on

average 15 investment options, excluding target date funds. See Callan Investments

Institute, 2015 Defined Contribution Trends, at 28 (2015).47 This number of options

provides participants with a choice of investment styles while maintaining a larger

pool of assets in each investment style, which benefits participants by avoiding

participant confusion and obtaining lower fees. It also is the output of an evaluation

 47Available   at https://www.callan.com/research/files/990.pdf.

                                           65
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 66 of 117



and selection by prudent fiduciaries of the “best in class” investment choice in a

participant investment style. Indeed, since it is the fiduciaries in a plan who ERISA

holds to a standard of a prudent financial expert, it is important for fiduciaries to

perform that selection role for the exclusive benefit of participants who are not

financial experts.

      134.   A larger pool of assets in each investment style significantly reduces

fees paid by participants. By consolidating duplicative investments of the same

investment style into a single investment option, the Plan would then have the

ability to command lower-cost investments, such as low-cost institutional share

class of the selected mutual fund option.

      135.   Fund selections must be the result of a detailed due diligence process

that considers factors such as risk, investment return, and expenses of available

investment alternatives, and the fiduciary must give “appropriate consideration” to

“the role the investment or investment course of action plays . . . in the plan’s

investment portfolio,” 29 C.F.R. §§2550.404a-1(b)(i)-(ii). Fiduciaries cannot

discharge their duties “by the simple expedient of including a very large number of

investment alternatives in its portfolio and then shifting to the participants the

responsibility for choosing among them.” Hecker, 569 F.3d at 711. This removes the

benefit of pooling assets consistent with the size of the Plan. Assembling a

haphazard lineup of over 78–118 duplicative options, proprietary to the Plan’s

recordkeepers—and shifting to participants the burden to screen those options—

does not reflect a prudent investment selection process.




                                            66
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 67 of 117



      136.    Within each asset class and investment style deemed appropriate for

the participant-directed retirement plan, prudent fiduciaries make a reasoned

determination and select a prudent investment option. In contrast to the

investment lineup assembled by Defendants, prudent fiduciaries do not select and

retain numerous investment options for a single asset class and investment style.

When many investment options in a single investment style are plan options,

fiduciaries lose the bargaining power to get lower investment management

expenses for that style.

      137.    Moreover, if a participant puts her assets in each of the funds within a

given investment style, as commentators have said they are likely to do,48 when

many actively managed funds are included within the same investment style, this

results in those participants effectively having an index return. This is because the

investments are spread so broadly over that investment style. Yet the participants

will be paying much higher fees for active management than the fees of a passive

index fund.

      138.    In addition, providing multiple options in a single investment style

adds unnecessary complexity to the investment lineup and leads to participant

confusion. See The Standard, Fixing Your 403(b) Plan: Adopting a Best Practices

Approach, at 2 (“Numerous studies have demonstrated that when people are given

too many choices of anything, they lose confidence or make no decision.”); Michael


 48Ian Ayres & Quinn Curtiss, Beyond Diversification: The Pervasive Problem of
Excessive Fees and Dominated Funds in 401(k) Plans, 124 YALE L.J. 1476, 1481
(2015)(“It is well established that some investors naively diversify by spreading
their plan investments across all fund offerings.”).

                                          67
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 68 of 117



Liersch, Choice in Retirement Plans: How Participant Behavior Differs in Plans

Offering Advice, Managed Accounts, and Target-Date Investments, T. ROWE PRICE

RETIREMENT RESEARCH, at 2 (Apr. 2009)(“Offering too many choices to consumers

can lead to decision paralysis, preventing consumers from making decisions.”).49

      139.    Moreover, having many actively managed funds in the Plan within the

same investment style results in the Plan effectively having an index fund return

even though the plan is paying fees for active management that are much higher

than the fees of a passive index fund.

      140.    Since 2010, the Plan offered a proliferation of duplicative investments

in every major asset class and investment style, including balanced/asset allocation

(3–10 options), fixed income and high yield bond (14–18 options), international (8–

15 options), large cap domestic equities (14–27 options), mid cap domestic equities

(6–11 options), small cap domestic equities (5–7 options), real estate (2 options),

money market (2–4 options), and target date investments (2 fund families). Such a

dizzying array of duplicative funds in a single investment style violates the well-

recognized industry principle that too many choices harm participants and are

paralyzing.

      141.    For illustration purposes, the Plan’s four large cap domestic blend

investments as of December 31, 2014, are summarized below and compared to a

single lower-cost alternative that was available to the Plan: the large cap blend



 49Available at
http://www.behavioralresearch.com/Publications/Choice_in_Retirement_Plans_April
_2009.pdf.

                                          68
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 69 of 117



Vanguard Institutional Index Fund-Instl. Plus (VIIIX), which mirrors the market

and has an expense ratio of 2 bps.

                                                              Lower-Cost           Plan’s
     Large Cap Blend                                  Plan
                                       Assets                 Alternative          Excess
       Investments                                    Fee
                                                                  Fee               Cost
CREF Stock Account                   $753,152,128    46 bps      2 bps             2200%
CREF Equity Index
                                                     37 bps        2 bps           1750%
Account                              $86,587,630
Vanguard Institutional
                                                      4 bps        2 bps           100%
Index Fund-Instl (VINIX)             $120,459,283
Vanguard Total Stock
Market Index Fund-Instl                               4 bps        2 bps           100%
(VITSX)                           $64,508,300
Total                            $1,024,707,341

      142.      With over $800 million held in the CREF Stock Account and the CREF

Equity Index Account, these large cap blend options were 23 and 18 times more

expensive than the lower-cost Vanguard option with an expense ratio of 2 bps,

respectively.



             Excessive Expense Ratio of CREF Stock Account and
                         CREF Equity Index Account

                            46 bps                    CREF Expense 2200%–1750%
                                                      Higher than Index Fund
                                            37 bps
      50

      40

      30

      20                                                   2 bps

      10

       0
  Basis Points
     (bps)     CREF Stock Account          CREF Equity Index Account       VIIIX



                                            69
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 70 of 117




      143.   Many other large cap index funds are also available at massively lower

costs than the Plan’s large cap funds. Had the amounts invested in the Plan’s large

cap blend options been consolidated into a single large cap blend investment, such

as the Vanguard Institutional Index Fund-Instl. Plus, Plan participants would have

avoided paying in excess of $3 million in fees for 2014 alone, and many more

millions since 2010 to the present and continuing into the future.

      144.   Similarly, the Plan offers eleven different fixed income investments as

of December 31, 2014. These funds are summarized below and compared to a far

lower-cost readily available alternative, the Vanguard Total Bond Market Index

Fund-Instl Plus (VBMPX) with an expense ratio of 5 bps.

                                                          Lower-Cost       Plan’s
     Fixed Income
                               Assets          Plan Fee   Alternative      Excess
     Investments
                                                              Fee           Cost
CREF Bond Market
                            $67,681,000         44 bps       5 bps          780%
Fund
CREF Inflation-Linked
                            $35,735,301         39 bps       5 bps          680%
Bond Fund
TIAA-CREF Bond
Index Fund-Prem              $8,211,935         27 bps       5 bps          440%
(TBIPX)
Vanguard Inflation-
Protected Securities        $15,501,746         20 bps       5 bps          300%
Fund-Inv (VIPSX)
Vanguard
Intermediate-Term
                            $12,358,006         20 bps       5 bps          300%
Bond Index Fund-Inv
(VBIIX)
Vanguard
Intermediate-Term
                             $6,384,162         20 bps       5 bps          300%
Treasury Fund-Inv
(VFITX)




                                          70
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 71 of 117



                                                          Lower-Cost        Plan’s
     Fixed Income
                              Assets           Plan Fee   Alternative       Excess
     Investments
                                                              Fee            Cost
Vanguard Long-Term
Bond Index Fund-Inv          $5,581,631         20 bps       5 bps          300%
(VBLTX)
Vanguard Long-Term
Investment Grade             $8,805,651         22 bps       5 bps          340%
Bond-Inv (VWESX)
Vanguard Short-Term
Investment Grade            $19,461,893         20 bps       5 bps          300%
Fund-Inv (VFSTX)
Vanguard Total Bond
Market Index Fund-          $41,086,928         6 bps        5 bps           20%
Instl (VBTIX)
Vanguard Long-Term
Treasury Fund-Inv            $6,569,316         20 bps       5 bps          300%
(VUSTX)
Total                      $227,377,569

      145.   Had the amounts in the Plan’s fixed income investments instead been

consolidated into a single fixed income investment, such as the Vanguard Total

Bond Market Index Fund-Instl Plus, Plan participants would have saved

substantial amounts of their retirement savings, instead of paying excessive and

wholly unnecessary fees. Prudent fiduciaries would not have allowed this.

      146.   In addition, Defendants even selected and continue to retain multiple

passively managed index options in the same investment style. In contrast to an

actively-managed fund, in which the investment manager selects stocks or bonds in

an attempt to generate investment returns in excess of the fund’s benchmark,

passively managed index funds simply attempt to replicate a market index, such as

the S&P 500, by holding a representative sample of securities in the index. Because




                                          71
         Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 72 of 117



no stock selection or research is needed, index fund fees are substantially lower

than an actively managed fund in the same style.

         147.   For example, in the large cap blend investment style, Defendants have

included up to five separate index funds to mimic the return of the U.S. equity

market. Similarly, for fixed income or the intermediate-term bond investment style,

as another example, Defendants have included up to four separate index funds.

         148.   Since index funds merely hold the same securities in the same (or

roughly the same) proportions as the index,50 having multiple index funds of the

same category or investment style in the Plan provides no benefit to participants.

As Morningstar CEO Joe Mansueto recently observed, “[b]asic market indexes are

virtually interchangeable.” Lewis Braham, Morningstar Announces Free Use of Its

Indexes, Barron’s (Nov. 5, 2016).51 Including multiple similar index funds in the

same investment style hurts participants by diluting the Plan’s ability to obtain

lower rates for a single index fund of that style because the amount of assets in any

one such fund is smaller than the aggregate would be in that investment style.

Moreover, multiple managers holding stocks that mimic the S&P 500 or a similar

index would pick the same stocks in essentially the same proportions as the index.

Thus, there is no value in offering separate index funds in the same investment

style.




 50 Another example of an index is the Dow Jones Industrial Average.
 51 Available at http://www.barrons.com/articles/morningstar-announces-free-use-
of-its-indexes-1478322642.

                                           72
       Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 73 of 117



        149.   Had Defendants combined hundreds of millions of dollars in Plan

assets from duplicative index funds into a single index fund, the Plan would have

obtained lower fees and generated higher investment returns, net of fees, and

participants would not have lost millions of dollars in retirement assets.

V.      Defendants retained historically underperforming Plan investments.

        150.   The excessive fees in the Plan’s investments were not justified by

superior investment returns. Defendants’ failure to conduct appropriate due

diligence in selecting and monitoring the Plan’s investments resulted in options

being retained in the Plan despite years of historical underperformance compared to

superior lower-cost alternatives, causing massive losses to the Plan compared to

what those assets would have earned if invested in prudent alternatives.

        151.   As of March 31 2016, 45 of the 76 investment options in the Plan for

which a benchmark was identified—nearly 60% of the Plan’s investment options—

underperformed their respective benchmarks over the previous 5-year period.52

These underperforming funds include the following:

                              Fund Name                                   Ticker

     CREF Bond Market (R3)                                               QCBMIX

     CREF Equity Index (R3)                                              QCEQIX




 52These results are based on the performance and benchmark for each fund as
shown on the Plan’s quarterly Plan and Investment Notice, Section II, Part A,
available at
https://www.tiaa.org/public/pdf/obiee/100321_Plan_Investment_Notice.pdf. No
benchmark was reported for the TIAA Traditional Annuity. See id. at 19.


                                           73
  Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 74 of 117




                          Fund Name                         Ticker

CREF Global Equities (R3)                                   QCGLIX

CREF Growth (R3)                                            QCGRIX

CREF Inflation-Linked Bond (R3)                             QCILIX

CREF Money Market (R3)                                     QCMMIX

CREF Social Choice (R3)                                     QCSCIX

CREF Stock (R3)                                             QCSTIX

TIAA Real Estate                                            QREARX

TIAA-CREF Bond Index (Inst)                                  TBIIX

TIAA-CREF High-Yield (Inst)                                  TIHYX

TIAA-CREF Large-Cap Value (Inst)                             TRLIX

TIAA-CREF Lifecycle Index 2015 (Inst)                        TLFIX

TIAA-CREF Lifecycle Index 2020 (Inst)                       TLWIX

TIAA-CREF Lifecycle Index 2025 (Inst)                        TLQIX

TIAA-CREF Lifecycle Index 2030 (Inst)                        TLHIX

TIAA-CREF Lifecycle Index 2035 (Inst)                        TLYIX

TIAA-CREF Lifecycle Index 2040 (Inst)                        TLZIX

TIAA-CREF Lifecycle Index 2045 (Inst)                        TLXIX

TIAA-CREF Lifecycle Index 2050 (Inst)                        TLLIX




                                   74
  Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 75 of 117




                          Fund Name                         Ticker

TIAA-CREF Mid-Cap Growth (Inst)                             TRPWX

TIAA-CREF Mid-Cap Value (Inst)                              TIMVX

Vanguard Explorer (Inv)                                     VEXPX

Vanguard Extended Market Index (Inv)                        VEXMX

Vanguard Inflation-Protected Securities (Inv)                VIPSX

Vanguard Institutional Index (Inst)                          VINIX

Vanguard Intermediate-Term Bond Index (Inv)                  VBIIX

Vanguard Intermediate-Term Treasury (Inv)                    VFITX

Vanguard Long-Term Bond Index (Inv)                         VBLTX

Vanguard Long-Term Treasury (Inv)                           VUSTX

Vanguard Mid Cap Growth (Inv)                               VMGRX

Vanguard Mid Cap Index (Inv)                                VIMSX

Vanguard Morgan Growth (Inv)                                VMRGX

Vanguard Prime Money Market (Inv)                           VMMXX

Vanguard REIT Index (Inv)                                    VGSIX

Vanguard Selected Value (Inv)                               VASVX

Vanguard Short-Term Investment-Grade (Inv)                  VFSTX

Vanguard Small Cap Index (Inv)                              NAESX




                                      75
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 76 of 117




                             Fund Name                                   Ticker

  Vanguard Small Cap Value Index (Inv)                                   VISVX

  Vanguard Total Bond Market Index (Inst)                                VBTIX

  Vanguard U.S. Growth (Inv)                                            VWUSX

  Vanguard Value Index (Inv)                                             VIVAX

  Vanguard Wellington (Inv)                                             VWELX

  Vanguard Windsor (Adm)                                                VWNEX

  Vanguard Windsor II (Inv)                                             VWNFX


      152.   Had Defendants conducted a prudent investment review process, many

of these options that consistently failed to meet performance objectives would have

been eliminated from the Plan or replaced. Defendants’ failure to do so caused the

Plan substantial losses compared to prudent alternative investments that were

available to the Plan. Two funds in particular demonstrate the severe harm to the

Plan resulting from Defendants’ breaches of fiduciary duties: the CREF Stock

Account and TIAA Real Estate Account.

      A.     CREF Stock Account

      153.   TIAA-CREF imposed restrictive provisions on the specific annuities

that must be provided in the Plan. In its fund fact sheets and participant

disclosures to the Plan’s participants, TIAA-CREF classifies the CREF Stock

Account as a domestic equity investment in the large cap blend Morningstar

category. For its benefit, TIAA-CREF required that the CREF Stock Account be



                                         76
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 77 of 117



offered to Plan participants, in addition to the TIAA Traditional Annuity and the

CREF Money Market Account. Instead of controlling each plan option allowed in

the Plan, and acting for the sole benefit of the Plan’s participants, as ERISA

requires, Defendants allowed TIAA-CREF to dictate that the CREF Stock Account

would be placed and retained in the Plan. Defendants did so without a prudent

process to determine whether there were other prudent alternatives in the exclusive

best interest of Plan participants and beneficiaries. TIAA-CREF required the CREF

Stock Account to be included in the Plan to drive very substantial amounts of

revenue sharing payments to TIAA-CREF for recordkeeping services. The CREF

Stock Account paid 24 bps for revenue sharing, which exceeded other TIAA-CREF

investments by over 50% (15 bps).

      154.   The CREF Stock Account has excessive and unnecessary fees, has

consistently underperformed for years, and continues to underperform the

benchmark TIAA and Defendants told participants was the proper one, and

underperformed lower-cost actively and passively managed investments that were

available to the Plan, yet has not been removed from the Plan nor frozen to new

investments. The CREF Stock Account is one of the largest investment options in

the Plan with over $750 million in total assets as of year-end 2014. It has been

offered in the Plan throughout the period from 2010 to date. This option has

underperformed and continues to underperform its benchmark and lower-cost

actively and passively managed investments that were available to the Plan.




                                          77
        Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 78 of 117



         155.   As is generally understood in the investment community, passively

managed investment options should either be used or, at a minimum, thoroughly

analyzed and considered, in efficient markets such as large capitalization U.S.

stocks. This is because it is difficult and either unheard of, or extremely unlikely, to

find actively managed mutual funds that outperform a passive index, net of fees,

particularly on a persistent basis. This extreme unlikelihood is even greater in the

large cap market because such companies are the subject of many analysts’

coverage, while smaller stocks are not as widely covered by analysts and thus are

subject to potential inefficiencies in pricing.

         156.   Nobel Prize winners in economics have concluded that virtually no

investment manager consistently beats the market over time after fees are taken

into account. “Properly measured, the average actively managed dollar must

underperform the average passively managed dollar, net of costs.” William F.

Sharpe, The Arithmetic of Active Management, 47 FIN. ANALYSTS J. 7, 8 (Jan./Feb.

1991);53 Eugene F. Fama & Kenneth R. French, Luck Versus Skill in the Cross-

Section of Mutual Fund Returns, 65 J. FIN. 1915, 1915 (2010)(“After costs . . . in

terms of net returns to investors, active investment must be a negative sum

game.”).

         157.   This is particularly true in the highly efficient large cap market. These

efficiencies hinder an active manager’s ability to achieve excess returns for

investors.



 53   Available at http://www.cfapubs.org/doi/pdf/10.2469/faj.v47.n1.7.

                                            78
        Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 79 of 117



         In conclusion, this study of mutual funds does not provide any reason
         to abandon a belief that securities markets are remarkably efficient.
         Most investors would be considerably better off by purchasing a low
         expense index fund, than by trying to select an active fund manager
         who appears to possess a “hot hand.” Since active management
         generally fails to provide excess returns and tends to generate greater
         tax burdens for investors, the advantage of passive management holds,
         a fortiori.

Burton G. Malkiel, Returns from Investing in Equity Mutual Funds 1971 to 1991, 50

J. FIN. 549, 571 (1995).54

         158.   Academic literature overwhelmingly concludes that active managers

consistently underperform the S&P 500 index.

         Active managers themselves provide perhaps the most persuasive case
         for passive investing. Dozens of studies have examined the
         performance of mutual funds and other professional-managed assets,
         and virtually all of them have concluded that, on average, active
         managers underperform passive benchmarks….The median active
         fund underperformed the passive index in 12 out of 18 years [for the
         large-cap fund universe]…The bottom line is that, over most periods,
         the majority of mutual fund investors would have been better off
         investing in an S&P 500 Index fund.

         ***

         Most of the dismal comparisons for active managers are for large-cap
         domestic managers versus the S&P 500 Index.

Robert C. Jones, The Active Versus Passive Debate: Perspectives of an Active Quant,

ACTIVE EQUITY PORTFOLIO MANAGEMENT, at 37, 40, 53 (Frank J. Fabozzi ed., 1998).

         159.   Prudent fiduciaries of large defined contribution plans conduct an

analysis to determine whether actively managed funds, particularly large cap, will

outperform their benchmark net of fees. Prudent fiduciaries then make a reasoned



 54   Available at http://indeksirahastot.fi/resource/malkiel.pdf.

                                            79
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 80 of 117



decision as to whether it is in participants’ best interest to offer an actively

managed large cap option, with its much higher fees, for the particular investment

style and asset class, in light of the higher costs of active management.

      160.   Defendants failed to undertake such an analysis, or any analysis, when

it allowed the actively managed CREF Stock Account to be included and retained in

the Plan. This is particularly true given TIAA-CREF’s requirement that the CREF

Stock Account be provided in the Plan in order to drive revenue to TIAA-CREF. By

allowing the Plan to be bound by this requirement, Defendants failed to conduct an

independent evaluation of the prudence of this option, which contradicts every

principle of prudent investing because an investment that was no longer prudent

could not be removed from the Plan.

      161.   Additionally, as detailed above, the 46 bps that the CREF Stock

Account charged was comprised of four layers of fees that were each unreasonable

compared to the actual services provided by TIAA-CREF to the Plan’s participants.

Defendants failed to analyze whether these fees were appropriate and reasonable in

light of the services provided and given that the Plan invested over $750 million in

the CREF Stock Account.

      162.   Had Defendants engaged in a prudent investment review and

monitoring process, it would have determined that the CREF Stock Account would

not be expected to outperform the large cap index after fees. That is in fact what

occurred.

      163.   In participant communications, Defendants and TIAA-CREF identified




                                           80
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 81 of 117



the Russell 3000 Index as the appropriate benchmark to evaluate the fund’s

investment results, as shown in this excerpt of the Plan and Investment Notice

provided to the Plan’s participants:55




      164.   The CREF Stock Account did not merely underperform in a single year

or two. Historical performance of the CREF Stock Account has been persistently

poor for many years compared to both available lower-cost index funds and the

Russell 3000 index benchmark. The following performance chart compares the

investment returns of the CREF Stock Account to its Russell 3000 benchmark, as

identified by Defendants and TIAA-CREF, and two other passively managed index

funds in the same investment style, for the one-, five-, and ten-year periods ending

December 31, 2014.56 For each comparison, the CREF Stock Account dramatically

underperformed the benchmark and index alternatives. The passively managed

index funds used for comparison purposes are the Vanguard Total Stock Market


 55 Plan and Investment Notice at 8, available at
https://www.tiaa.org/public/pdf/obiee/100321_Plan_Investment_Notice.pdf.
 56 Performance data provided as of December 31, 2014 to correspond to the most

recent filing of the Plan’s Form 5500 with the Department of Labor as of the date of
the original complaint.

                                         81
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 82 of 117



Index Fund-Instl Plus (VITPX) and the Vanguard Institutional Index-Instl Plus

(VIIIX). Like the CREF Stock Account, these options are large cap blend

investments.

                              CREF Stock Account
                One-, Five-, and Ten-Year Investment Returns
                          Compared to Benchmarks
                                 (as of Dec. 31, 2014)

                                              30%–33%
                                            greater than
 17.00%             96%–113%                CREF return
                   greater than
                   CREF return
 15.00%

 13.00%
                                                                      16%–23%
 11.00%                                                             greater than
                                                                    CREF return
  9.00%

  7.00%

  5.00%
                    1 Year                 5 Year                 10 Year

               CREF Stock Account        VITPX           VIIIX   Russell 3000


      165.     The CREF Stock Account, with an expense ratio of 46 bps, as of

December 31, 2014, was and is dramatically more expensive than better performing

index alternatives: the Vanguard Total Stock Market Index Fund-Instl Plus (2 bps)

and the Vanguard Institutional Index-Instl Plus (2 bps).

      166.     Apart from underperforming passively managed index funds, the fund

also significantly underperformed comparable actively managed funds over the

one-, five- and ten-year periods ending December 31, 2014. These large cap


                                           82
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 83 of 117



alternatives with similar underlying asset allocations to the CREF Stock Account

include the Vanguard Diversified Equity (VDEQX), the Vanguard PRIMECAP-Adm

(VPMAX), and the Vanguard Capital Opp.-Adm (VHCAX).

                             CREF Stock Account
                One-, Five- and Ten- Year Investment Returns
                Compared to Actively Managed Benchmarks
                                 (as of Dec. 31, 2014)
                   73%–196%
                  greater than
                  CREF return
                                           28%–37%
   19%                                   greater than
                                         CREF return
   17%

   15%
                                                                  20%–56%
   13%                                                          greater than
                                                                CREF return
   11%

    9%

    7%

    5%
               1 Year                  5 Year                  10 Year
             CREF Stock Account        VDEQX             VPMAX     VHCAX


      167.   This sustained underperformance went back even further. The CREF

Stock Account also had a long history of substantial underperformance compared to




                                         83
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 84 of 117



these actively managed alternatives over the one-, five-, and ten-year periods

ending December 31, 2009.57


                           CREF Stock Account
                 One-Year Investment Returns Compared to
                      Actively Managed Benchmarks
                             (as of Dec. 31, 2009)
                                                      6%–53%
                                                   greater than
                                                   CREF return

      50%

      45%

      40%

      35%

      30%
                                1 Year
             CREF Stock Account    VDEQX            VPMAX       VHCAX




 57Because the Vanguard Diversified Equity Fund’s inception date was June 10,
2006, it was excluded from the five- and ten-year periods. For the Vanguard
PRIMECAP-Adm and Vanguard Capital Opportunity Fund-Adm, the investment
returns of the investor share class for ten-year performance were used because the
admiral share class for each of these funds was not offered until November 12, 2001.
The return since inception for the Vanguard PRIMECAP-Adm was 3.23%, and for
the Vanguard Capital Opportunity Fund-Adm, 5.89%.

                                         84
 Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 85 of 117




                       CREF Stock Account
            Five-Year Investment Returns Compared to
                  Actively Managed Benchmarks
                          (as of Dec. 31, 2009)
                                          174%–206%
                                         greater than
                                         CREF return
6.00%
5.00%
4.00%
3.00%
2.00%
1.00%
0.00%
                            5 Year
              CREF Stock Account       VPMAX      VHCAX



                    CREF Stock Account
          Ten-Year Investment Returns Compared to
               Actively Managed Benchmarks
                        (as of Dec. 31, 2009)

                                        3130%–5790%
                                        greater than
                                        CREF return


6.00%
5.00%
4.00%
3.00%
2.00%
1.00%
0.00%
                           10 Year
              CREF Stock Account   VPMAX          VHCAX



                                  85
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 86 of 117



      168.   Despite the consistent underperformance, the CREF Stock Account,

with an expense ratio of 46 bps as of December 31, 2014, was more expensive than

better performing actively managed alternatives: the Vanguard Diversified Equity-

Inv (40 bps), the Vanguard PRIMECAP-Adm (35 bps), and the Vanguard Capital

Opp.-Adm (40 bps).

      169.   Apart from this abysmal long-term underperformance of the CREF

Stock Account compared to both index funds and actively managed funds, the fund

was recognized as imprudent in the industry. In March 2012, an independent

investment consultant, AonHewitt, recognized the imprudence of the CREF Stock

Account and recommended to its clients that they remove this fund from their

retirement plan. AonHewitt, TIAA-CREF Asset Management, INBRIEF, at 3 (July

2012). 58 This recommendation was made due to numerous factors, including the

historical underperformance, high turnover of asset management executives and

portfolio managers, and the fund’s over 60 separate underlying investment

strategies, greatly reducing the fund’s ability to generate excess returns over any

substantial length of time. Id. at 4–5.

      170.   The Supreme Court has recently and unanimously ruled that ERISA

fiduciaries have “a continuing duty to monitor investments and remove imprudent

ones[.]” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1829 (2015). In contrast to the

conduct of a prudent fiduciary, Defendants failed to conduct a prudent process to

monitor the CREF Stock Account and failed to remove it or freeze it to new


 58Available at http://system.nevada.edu/Nshe/?LinkServID=82B25D1E-9128-
6E45-1094320FC2037740.

                                           86
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 87 of 117



investments even though it continued to underperform lower-cost investment

alternatives that were available to the Plan.

      171.   Prudent fiduciaries of defined contribution plans continuously monitor

the investment performance of plan options against applicable benchmarks and

peer groups to identify underperforming investments. Based on this process,

prudent fiduciaries replace those imprudent investments with better performing

and reasonably priced options. Under the standards used by prudent independent

fiduciaries, the CREF Stock Account would have been removed from the Plan.

      172.   Defendants retention of the CREF Stock Account caused the Plan to

lose over $170 million compared to what the Plan would have earned had the same

amount of assets been invested in certain of the actively managed lower-cost

alternatives identified in ¶166, or the passively managed lower-cost alternatives

identified in ¶165.59

      B.     TIAA Real Estate Account

      173.   Defendants selected and continue to retain the TIAA Real Estate

Account as an investment options in the Plan. The fund has far greater fees than

are reasonable, has historically underperformed, and continues to consistently

underperform comparable real estate investment alternatives, including the

Vanguard REIT Index I (VGSNX).




 59Plan losses have been brought forward to the present value using the
investment returns of the lower-cost alternatives to compensate participants who
have not been reimbursed for their losses.

                                         87
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 88 of 117



      174.    With an expense ratio of 87 bps as of December 31, 2014, the TIAA

Real Estate Account is also over 10 times more expensive than the Vanguard REIT

Index I, which has an expense ratio of 8 bps.


                          TIAA Real Estate Account
             Expense Ratio Compared to REIT Index Fund (VGSNX)
                              87 bps
                                                TIAA Expense 988%
       90
                                                Higher than REIT Index
       80                                       Fund
       70
       60
       50
       40
       30                                                 8 bps
       20
       10
        0
                  TIAA Real Estate                  VGSNX
  Basis Points
                      Account
     (bps)



      175.    The TIAA Real Estate Account had a long history of substantial

underperformance relative to the Vanguard REIT Index over the one-, five-, and

ten-year periods ending December 31, 2009.60 Despite this, Defendants selected and

have retained it in the Plan to date.




 60The return of the investor share class was used for ten-year performance
because the institutional share class was not offered until December 2, 2003. The
return since inception for the Vanguard REIT Index-I was 5.49%.

                                         88
Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 89 of 117




                   TIAA Real Estate Account
            One-Year Investment Returns Compared to
                   REIT Index Fund (VGSNX)
                         (as of Dec. 31, 2009)
                                               208%
                                             greater
    40%                                     than TIAA
    30%                                       return

    20%
    10%
     0%
   -10%
   -20%
   -30%
   -40%
                                 1 Year
                 TIAA Real Estate Account        VGSNX


                    TIAA Real Estate Account
            Five-Year Investment Returns Compared to
                    REIT Index Fund (VGSNX)
                         (as of Dec. 31, 2009)
                                               143%
                                             greater
    1.00%                                   than TIAA
                                              return
    0.50%

    0.00%

   -0.50%

   -1.00%

   -1.50%

   -2.00%
                                  5 Year
                 TIAA Real Estate Account        VGSNX




                                  89
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 90 of 117




                        TIAA Real Estate Account
                 Ten-Year Investment Returns Compared to
                        REIT Index Fund (VGSNX)
                                 (as of Dec. 31, 2009)
                                                    239%
                                                  greater
                                                 than TIAA
                                                   return
                12%
                10%
                 8%
                 6%
                 4%
                 2%
                                      10 Year

                       TIAA Real Estate Account          VGSNX


      176.   This underperformance occurred for years before 2009 and continued

thereafter. The TIAA Real Estate Account vastly underperformed the Vanguard

REIT Index-I over the one-, five-, and ten-year periods ending December 31, 2014.61




 61Performance data provided as of December 31, 2014 to correspond to the most
recent filing of the Plan’s Form 5500 with the Department of Labor as of the date of
the original complaint.

                                          90
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 91 of 117




                           TIAA Real Estate Account
                 One-, Five-, and Ten-Year Investment Returns
                   Compared to REIT Index Fund (VGSNX)
                                  (as of Dec. 31, 2014)
                  148% greater
                   than TIAA
                     return


     29%

                                          46% greater
     24%                                   than TIAA
                                             return
     19%
                                                                  79% greater
                                                                   than TIAA
     14%
                                                                     return

       9%

       4%
                  1 Year               5 Year                10 Year
                      TIAA Real Estate Account            VGSNX


      177.   As the Supreme Court unanimously ruled in Tibble, prudent

fiduciaries of defined contribution plans have a duty to monitor plan investment

options on an ongoing basis and replace imprudent investments. Tibble, 135 S. Ct.

at 1829. Defendants failed to do so and continue to retain the TIAA Real Estate

Account as a Plan investment option, despite its continued dramatic

underperformance and excessive fees compared to prudent alternatives.

      178.   Had Defendants removed the TIAA Real Estate Account and the

amounts been invested in the lower-cost and better-performing Vanguard REIT




                                         91
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 92 of 117



Index I, Plan participants would not have lost in excess of $16 million of their

retirement assets from the fund being retained in the Plan.62

                          CLASS ACTION ALLEGATIONS

       179.   29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the

Plan to bring an action individually on behalf of the Plan to enforce a breaching

fiduciary’s liability to the Plan under 29 U.S.C. §1109(a).

       180.   In acting in this representative capacity and to enhance the due

process protections of unnamed participants and beneficiaries of the Plan, as an

alternative to direct individual actions on behalf of the Plan under 29 U.S.C.

§1132(a)(2), Plaintiffs seek to certify this action as a class action on behalf of all

participants and beneficiaries of the Plan. Plaintiffs seek to certify, and to be

appointed as representatives of, the following class:

       All participants and beneficiaries of the University of Pennsylvania
       Matching Plan from August 10, 2010 through the date of judgment,
       excluding the Defendants.

       181.   This action meets the requirements of Rule 23 and is certifiable as a

class action for the following reasons:

              a.     The Class includes over 20,000 members and is so large that

       joinder of all its members is impracticable.

              b.     There are questions of law and fact common to this Class

       because the Defendants owed fiduciary duties to the Plan and to all



 62Plan losses have been brought forward to the present value using the
investment returns of the Vanguard REIT Index-I to compensate participants who
have not been reimbursed for their losses.

                                            92
Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 93 of 117



participants and beneficiaries and took the actions and omissions alleged

herein as to the Plan and not as to any individual participant. Thus, common

questions of law and fact include the following, without limitation: who are

the fiduciaries liable for the remedies provided by 29 U.S.C. §1109(a);

whether the fiduciaries of the Plan breached their fiduciary duties to the

Plan; what are the losses to the Plan resulting from each breach of fiduciary

duty; and what Plan-wide equitable and other relief the court should impose

in light of Defendants’ breach of duty.

      c.     Plaintiffs’ claims are typical of the claims of the Class because

each Plaintiff was a participant during the time period at issue in this action

and all participants in the Plan were harmed by Defendants’ misconduct.

      d.     Plaintiffs are adequate representatives of the Class because they

were participants in the Plan during the Class period, have no interest that is

in conflict with the Class, are committed to the vigorous representation of the

Class, and have engaged experienced and competent attorneys to represent

the Class.

      e.     Prosecution of separate actions for these breaches of fiduciary

duties by individual participants and beneficiaries would create the risk of

(A) inconsistent or varying adjudications that would establish incompatible

standards of conduct for Defendants in respect to the discharge of their

fiduciary duties to the Plan and personal liability to the Plan under 29 U.S.C.

§1109(a), and (B) adjudications by individual participants and beneficiaries




                                   93
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 94 of 117



      regarding these breaches of fiduciary duties and remedies for the Plan would,

      as a practical matter, be dispositive of the interests of the participants and

      beneficiaries not parties to the adjudication or would substantially impair or

      impede those participants’ and beneficiaries’ ability to protect their interests.

      Therefore, this action should be certified as a class action under Rule

      23(b)(1)(A) or (B).

      182.   A class action is the superior method for the fair and efficient

adjudication of this controversy because joinder of all participants and beneficiaries

is impracticable, the losses suffered by individual participants and beneficiaries

may be small and impracticable for individual members to enforce their rights

through individual actions, and the common questions of law and fact predominate

over individual questions. Given the nature of the allegations, no class member has

an interest in individually controlling the prosecution of this matter, and Plaintiffs

are aware of no difficulties likely to be encountered in the management of this

matter as a class action. Alternatively, then, this action may be certified as a class

under Rule 23(b)(3) if it is not certified under Rule 23(b)(1)(A) or (B).

      183.   Plaintiffs’ counsel, counsel, Schlichter, Bogard & Denton LLP, will

fairly and adequately represent the interests of the Class and is best able to

represent the interests of the Class under Rule 23(g). Schlichter, Bogard & Denton

has been appointed as class counsel in 17 other ERISA class actions regarding

excessive fees in large defined contribution plans. Courts in these cases have




                                           94
       Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 95 of 117



consistently and repeatedly recognized the firm’s unparalleled success in the area of

defined contribution excessive fee litigation:

      As Chief Judge Michael J. Reagan of the Southern District of Illinois
       recognized in approving a settlement which was reached on the eve of trial
       after eight years of litigation, resulting in a $62 million monetary recovery
       and very substantial affirmative relief to benefit the Plans, the firm had
       shown “exceptional commitment and perseverance in representing employees
       and retirees seeking to improve their retirement plans,” and “demonstrated
       its well-earned reputation as a pioneer and the leader in the field” of 401(k)
       plan excessive fee litigation. Abbott v. Lockheed Martin Corp., No. 06-701,
       2015 U.S.Dist.LEXIS 93206, at *4–5 (S.D.Ill. July 17, 2015). The court
       further recognized that the law firm of “Schlichter, Bogard & Denton has had
       a humongous impact over the entire 401(k) industry, which has benefited
       employees and retirees throughout the entire country by bringing sweeping
       changes to fiduciary practices.” Id. at *9 (internal quotations omitted).

      Other courts have made similar findings:

          o “It is clear to the Court that the firm of Schlichter, Bogard & Denton is
            preeminent in the field” “and is the only firm which has invested such
            massive resources in this area.” George v. Kraft Foods Global, Inc., No.
            08-3799, 2012 U.S.Dist.LEXIS 166816 at 8 (N.D. Ill. June 26, 2012).

          o “As the preeminent firm in 401(k) fee litigation, Schlichter, Bogard &
            Denton has achieved unparalleled results on behalf of its
            clients.” Nolte v. Cigna Corp., No. 07-2046, 2013 U.S.Dist.LEXIS
            184622 at 8 (C.D. Ill. Oct. 15, 2013).

          o “Litigating this case against formidable defendants and their
            sophisticated attorneys required Class Counsel to demonstrate
            extraordinary skill and determination.” Beesley v. Int’l Paper Co., No.
            06-703, 2014 U.S.Dist.LEXIS 12037 at *8 (S.D. Ill. Jan. 31, 2014). The
            court also emphasized that “the law firm of Schlichter, Bogard &
            Denton is the leader in 401(k) fee litigation.” Id. at *8 (internal
            quotations omitted).

          o U.S. District Judge Harold Baker of the Central District of Illinois
            acknowledged the significant impact of the firm’s work, finding that as
            of 2013, the nationwide “fee reduction attributed to Schlichter, Bogard
            & Denton’s fee litigation and the Department of Labor’s fee disclosure
            regulations approach $2.8 billion in annual savings for American



                                          95
    Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 96 of 117



          workers and retirees.” Nolte, 2013 U.S. Dist. LEXIS 184622, at *6
          (emphasis added).

       o U.S. District Judge David Herndon of the Southern District of Illinois
         recognized the firm’s extraordinary contributions to the retirement
         industry: “Schlichter, Bogard & Denton and lead attorney Jerome
         Schlichter’s diligence and perseverance, while risking vast amounts of
         time and money, reflect the finest attributes of a private attorney
         general. Beesley, 2014 U.S. Dist. LEXIS 12037, at *8.

       o U.S. District Court Judge G. Patrick Murphy similarly recognized the
         work of Schlichter, Bogard & Denton as exceptional:

                 “Schlichter, Bogard & Denton’s work throughout this
                 litigation illustrates an exceptional example of a private
                 attorney general risking large sums of money and
                 investing many thousands of hours for the benefit of
                 employees and retirees. No case had previously been
                 brought by either the Department of Labor or private
                 attorneys against large employers for excessive fees in a
                 401(k) plan. Class Counsel performed substantial work[,]
                 investigating the facts, examining documents, and
                 consulting and paying experts to determine whether it
                 was viable. This case has been pending since September
                 11, 2006. Litigating the case required Class Counsel to be
                 of the highest caliber and committed to the interests of
                 the participants and beneficiaries of the General
                 Dynamics 401(k) Plans.”

          Will v. General Dynamics Corp., No. 06-698, 2010 U.S.Dist.LEXIS
          123349 at 8–9 (S.D.Ill. Nov. 22, 2010).

   Schlichter, Bogard & Denton handled the only full trial of an ERISA
    excessive fee case, resulting in a $36.9 million judgment for the plaintiffs that
    was affirmed in part by the Eighth Circuit. Tussey v. ABB, Inc., 746 F.3d 327
    (8th Cir. 2014). In awarding attorney’s fees after trial, the district court
    concluded that “Plaintiffs’ attorneys are clearly experts in ERISA litigation.”
    Tussey v. ABB, Inc., No. 06-4305, 2012 U.S.Dist.LEXIS 157428 at 10 (W.D.
    Mo. Nov. 2, 2012). Following remand, the district court again awarded
    Plaintiffs’ attorney’s fees, emphasizing the significant contribution Plaintiffs’
    attorneys have made to ERISA litigation, including educating the
    Department of Labor and federal courts about the importance of monitoring
    fees in retirement plans:



                                       96
    Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 97 of 117



          “Of special importance is the significant, national contribution made by
          the Plaintiffs whose litigation clarified ERISA standards in the context
          of investment fees. The litigation educated plan administrators, the
          Department of Labor, the courts and retirement plan participants
          about the importance of monitoring recordkeeping fees and separating
          a fiduciary’s corporate interest from its fiduciary obligations.”

    Tussey v. ABB, Inc., No. 06-4305, 2015 U.S.Dist.LEXIS 164818 at 7–8 (W.D.
    Mo. Dec. 9, 2015).

   In Spano v. Boeing Co., in approving a settlement reached after nine years of
    litigation which included $57 million in monetary relief and substantial
    affirmative relief to benefit participants, the court found that “The law firm
    Schlichter, Bogard & Denton has significantly improved 401(k) plans across
    the country by bringing cases such as this one, which have educated plan
    administrators, the Department of Labor, the courts and retirement plan
    participants about the importance of monitoring recordkeeping fees.” No. 06-
    cv-743, Doc. 587, at 5–6 (S.D.Ill. Mar. 31, 2016) (Rosenstengel, J.) (internal
    quotations omitted).

   Recently, in approving a settlement including $32 million plus significant
    affirmative relief, Chief Judge William Osteen in Kruger v. Novant Health,
    Inc., No. 14-208, Doc. 61, at 7–8 (M.D.N.C. Sept. 29, 2016) found that “Class
    Counsel’s efforts have not only resulted in a significant monetary award to
    the class but have also brought improvement to the manner in which the
    Plans are operated and managed which will result in participants and
    retirees receiving significant savings[.]”

   On November 3, 2016, Judge Michael Ponsor of the United States District
    Court for the District of Massachusetts found that by securing a $30.9 million
    settlement, Schlichter, Bogard & Denton had achieved an “outstanding result
    for the class,” and “demonstrated extraordinary resourcefulness, skill,
    efficiency and determination.” Gordan v. Mass Mutual Life Ins., Co., No. 14-
    30184, Doc. 144 at 5 (D. Mass. Nov. 3, 2016).

   Schlichter, Bogard & Denton is also class counsel in and handled Tibble v.
    Edison International, 135 S. Ct. 1823 (2015), the first and only Supreme
    Court case to address the issue of excessive fees in a defined contribution
    plan—in which the Court held in a unanimous 9–0 decision that ERISA
    fiduciaries have “a continuing duty to monitor investments and remove
    imprudent ones[.]” Id. at 1829. Schlichter, Bogard & Denton successfully
    petitioned for a writ of certiorari, and obtained amicus support from the
    United States Solicitor General and AARP, among others. Given the Court’s




                                      97
          Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 98 of 117



          broad recognition of an ongoing fiduciary duty, the Tibble decision will affect
          all ERISA defined contribution plans.

         The firm’s work in ERISA excessive fee class actions has been featured in the
          New York Times, Wall Street Journal, NPR, Reuters, and Bloomberg, among
          other media outlets. See, e.g., Anne Tergesen, 401(k) Fees, Already Low, Are
          Heading Lower, WALL ST. J. (May 15, 2016);63 Gretchen Morgenson, A Lone
          Ranger of the 401(k)’s, N.Y. TIMES (Mar. 29, 2014);64 Liz Moyer, High Court
          Spotlight Put on 401(k) Plans, WALL ST. J. (Feb. 23, 2015);65 Floyd Norris,
          What a 401(k) Plan Really Owes Employees, N.Y. TIMES (Oct. 16, 2014);66
          Sara Randazzo, Plaintiffs’ Lawyer Takes on Retirement Plans, WALL ST. J.
          (Aug. 25, 2015);67 Jess Bravin and Liz Moyer, High Court Ruling Adds
          Protections for Investors in 401(k) Plans, WALL ST. J. (May 18, 2015); 68 Jim
          Zarroli, Lockheed Martin Case Puts 401(k) Plans on Trial, NPR (Dec. 15,
          2014);69 Mark Miller, Are 401(k) Fees Too High? The High-Court May Have
          an Opinion, REUTERS (May 1, 2014);70 Greg Stohr, 401(k) Fees at Issue as
          Court Takes Edison Worker Appeal, BLOOMBERG (Oct. 2, 2014).71

                                         COUNT I

             Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(A) & (B)

      Locking the Plan into CREF Stock Account and TIAA Recordkeeping




 63  Available at http://www.wsj.com/articles/401-k-fees-already-low-are-heading-
lower-1463304601.
  64 Available at http://www.nytimes.com/2014/03/30/business/a-lone-ranger-of-the-

401-k-s.html?_r=0.
  65 Available at http://www.wsj.com/articles/high-court-spotlight-put-on-401-k-

plans-1424716527.
  66 Available at http://www.nytimes.com/2014/10/17/business/what-a-401-k-plan-

really-owes-employees.html?_r=0.
  67 Available at http://blogs.wsj.com/law/2015/08/25/plaintiffs-lawyer-takes-on-

retirement-plans/.
  68 Available at http://www.wsj.com/articles/high-court-ruling-adds-protections-for-

investors-in-401-k-plans-1431974139.
  69 Available at http://www.npr.org/2014/12/15/370794942/lockheed-martin-case-

puts-401-k-plans-on-trial.
  70 Available at http://www.reuters.com/article/us-column-miller-401fees-

idUSBREA400J220140501.
  71 Available at http://www.bloomberg.com/news/articles/2014-10-02/401-k-fees-at-

issue-as-court-takes-edison-worker-appeal.

                                             98
      Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 99 of 117



      184.    Plaintiffs restate and incorporate the allegations in the preceding

paragraphs.

      185.    Defendants were required to discharge their duties with respect to the

Plan solely in the interest of, and for the exclusive purpose of providing benefits to,

Plan participants and beneficiaries, defraying reasonable expenses of administering

the Plan, and acting with the care, skill, prudence, and diligence required by

ERISA.

      186.    Defendants were required to independently assess “the prudence of

each investment option” for the Plan on an ongoing basis, DiFelice, 497 F.3d at 423,

and to act prudently and solely in the interest of the Plan’s participants in deciding

whether to maintain a recordkeeping arrangement, DOL Adv. Op. 97-16A.

Defendants were also required to remove investments that were no longer prudent

for the Plan, as the Supreme Court recently confirmed. Tibble, 135 S. Ct. at 1828–

29.

      187.    By allowing TIAA-CREF to mandate the inclusion of the CREF Stock

Account and Money Market Account in the Plan, and to require that it provide

recordkeeping for its proprietary options, Defendants committed the Plan to an

imprudent arrangement in which certain investments had to be included and could

not be removed from the plan even if they were no longer prudent investments, and

prevented the Plan from using alternative recordkeepers who could provide superior

services at a lower cost. In so doing, Defendants abdicated their duty to

independently assess the prudence of each option in the Plan on an ongoing basis,




                                           99
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 100 of 117



and to act prudently and solely in the interest of participants in selecting the Plan’s

recordkeeper. By allowing TIAA-CREF to dictate these terms, Defendants favored

the financial interests of TIAA-CREF in receiving a steady stream of revenues from

TIAA-CREF’s proprietary funds over the interest of participants.

      188.   Because Defendants shackled the Plan with the CREF Stock Account

and TIAA recordkeeping services without engaging in a reasoned decisionmaking

process as to the prudence of those options, Defendants are liable to make good to

the Plan all losses resulting from its breach. 29 U.S.C. §1109(a). As described in

detail above, the Plan suffered massive losses from the inclusion of the CREF Stock

Account in the Plan compared to what those assets would have earned if invested in

prudent alternative investments that were available to the Plan, and also suffered

losses from paying TIAA recordkeeping fees that far exceeded market rates.

      189.   Each Defendant knowingly participated in the breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit a breach by failing to lawfully discharge its own fiduciary duties, knew of

the breach by the other Defendants and failed to make any reasonable effort under

the circumstances to remedy the breach. Thus, each Defendant is liable for the

losses caused by the breach of its co-fiduciary under 29 U.S.C §1105(a).

                                      COUNT II

                 Prohibited transactions—29 U.S.C. §1106(a)(1)

   Locking the Plan into CREF Stock Account and TIAA Recordkeeping




                                          100
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 101 of 117



      190.    Plaintiffs restate and incorporate the allegations in the preceding

paragraphs.

      191.    Section 1106(a)(1) prohibits transactions between a plan and a “party

in interest,” and provides as follows:

         [A] fiduciary with respect to a plan shall not cause the plan to engage in a
         transaction, if he knows or should know that such transaction constitutes a
         direct or indirect –

                    (A)    sale or exchange, or leasing, of any property between the
                    plan and a party in interest;
                    ***
                    (C)    furnishing of goods, services, or facilities between the plan
                    and party in interest;
                    (D)    transfer to, or use by or for the benefit of a party in
                    interest, of any assets of the plan …

29 U.S.C. §1106(a)(1).

      192.    Congress defined “party in interest” to encompass “those entities that a

fiduciary might be inclined to favor at the expense of the plan beneficiaries,” such as

employers, other fiduciaries, and service providers. Harris Tr. & Sav. Bank v.

Salomon Smith Barney, Inc., 530 U.S. 238, 242 (2000); 29 U.S.C. §1002(14)(A)–(C).

As a service provider to the Plan, TIAA-CREF is a party in interest. 29 U.S.C.

§1002(14)(B).

      193.    By allowing the Plan to be locked into an unreasonable arrangement

that required the Plan to include the CREF Stock Account and to use TIAA as the

recordkeeper for its proprietary products even though the fund was no longer a

prudent option for the Plan due to its excessive fees and poor performance, and even

though TIAA’s recordkeeping fees were unreasonable for the services provided,




                                          101
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 102 of 117



Defendants caused the Plan to engage in transactions that it knew or should have

known constituted an exchange of property between the Plan and TIAA-CREF

prohibited by 29 U.S.C. §1106(a)(1)(A), a direct or indirect furnishing of services

between the Plan and TIAA-CREF prohibited by 29 U.S.C. §1106(a)(1)(C), and a

transfer of Plan assets to TIAA-CREF prohibited by 29 U.S.C. §1106(a)(1)(D). These

transactions occurred each time the Plan paid fees to TIAA-CREF in connection

with the Plan’s investments in the CREF Stock Account and other proprietary

options that paid revenue sharing to TIAA

      194.    29 U.S.C. §1109(a), Defendants are liable to restore all losses to the

Plan resulting from these prohibited transactions, and to provide restitution of all

proceeds of these prohibited transactions, and are subject to other appropriate

equitable or remedial relief.

      195.    Each Defendant knowingly participated in these transactions, enabled

the other Defendants to cause the Plan to engage in these transactions, and knew of

these transactions and failed to make any reasonable effort under the

circumstances to remedy or discontinue the transactions. Thus, under 29 U.S.C.

§1105(a), each Defendant is liable for restoring all the proceeds and losses

attributable to these transactions.

                                      COUNT III

          Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(A) & (B)

                        Unreasonable Administrative Fees

      196.    Plaintiffs restate and incorporate the allegations in the preceding

paragraphs.


                                          102
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 103 of 117



      197.   Defendants were required to discharge their duties with respect to the

Plan solely in the interest of, and for the exclusive purpose of providing benefits to

Plan participants and beneficiaries, defraying reasonable expenses of administering

the Plan, and acting with the care, skill, prudence, and diligence required by

ERISA.

      198.   If a defined contribution plan overpays for recordkeeping services due

to the fiduciaries’ “failure to solicit bids” from other recordkeepers, the fiduciaries

have breached their duty of prudence. See George v. Kraft Foods Global, Inc., 641

F.3d 786, 798–99 (7th Cir. 2011). Similarly, failing to “monitor and control

recordkeeping fees” and “paying excessive revenue sharing” as a result of failures to

“calculate the amount the Plan was paying … through revenue sharing,” to

“determine whether [the recordkeeper’s] pricing was competitive,” and to “leverage

the Plan's size to reduce fees,” while allowing the “revenue sharing to benefit” a

third-party recordkeeper “at the Plan’s expense” is a breach of fiduciary duties.

Tussey, 746 F.3d at 336.

      199.   Defendants’ process for monitoring and controlling the Plan’s

recordkeeping fees was a fiduciary breach in that Defendants failed to: monitor the

amount of the revenue sharing received by the Plan’s recordkeepers, determine if

those amounts were competitive or reasonable for the services provided to the Plan,

or use the Plan’s size to reduce fees or obtain sufficient rebates to the Plan for the

excessive fees paid by participants. Moreover, Defendants failed to solicit bids from

competing providers on a flat per-participant fee basis. As the Plan’s assets grew,




                                           103
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 104 of 117



the asset-based revenue sharing payments to the Plan’s recordkeepers grew, even

though the services provided by the recordkeepers remained the same. This caused

the recordkeeping compensation paid to the recordkeepers to exceed a reasonable

fee for the services provided. This conduct was a breach of fiduciary duties.

      200.   By allowing TIAA-CREF and Vanguard to put their proprietary

investments in the Plan without scrutinizing those providers’ financial interest in

using funds that provided them a steady stream of revenue sharing payments,

Defendants failed to act in the exclusive interest of participants.

      201.   In contrast to the comprehensive plan reviews conducted by similarly

situated 403(b) plan fiduciaries which resulted in consolidation to a single

recordkeeper and significant fee reductions, Defendants failed to engage in a timely

and reasoned decisionmaking process to determine whether the Plan would

similarly benefit from consolidating the Plan’s administrative and recordkeeping

services under a single provider. Instead, Defendants continue to contract with two

separate recordkeepers. This failure to consolidate the recordkeeping services

eliminated the Plan’s ability to obtain the same services at a lower cost with a

single recordkeeper. Defendants’ failure to “balance the relevant factors and make a

reasoned decision as to the preferred course of action—under circumstances in

which a prudent fiduciary would have done so”—and, indeed, did so—was a breach

of fiduciary duty. George, 641 F.3d at 788.

      202.   Total Plan losses will be determined at trial after complete discovery in

this case and are continuing.




                                          104
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 105 of 117



      203.     Each Defendant is personally liable under 29 U.S.C. §1109(a) to make

good to the Plan any losses to the Plan resulting from the breaches of fiduciary

duties alleged in this Count and is subject to other equitable or remedial relief as

appropriate.

      204.     Each Defendant knowingly participated in the breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit a breach by failing to lawfully discharge its own fiduciary duties, knew of

the breach by the other Defendants and failed to make any reasonable effort under

the circumstances to remedy the breach. Thus, each Defendant is liable for the

losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).

                                      COUNT IV

                  Prohibited transactions—29 U.S.C. §1106(a)(1)

                         Administrative Services and Fees

      205.     Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

      206.     As service providers to the Plan, TIAA-CREF and Vanguard are

parties in interest. 29 U.S.C. §1002(14)(B).

      207.     By causing the Plan to use TIAA-CREF and Vanguard as the Plan’s

recordkeepers from year to year, Defendants caused the Plan to engage in

transactions that Defendants knew or should have known constituted an exchange

of property between the Plan and TIAA-CREF and the Plan and Vanguard

prohibited by 29 U.S.C. §1106(a)(1)(A), a direct or indirect furnishing of services

between the Plan and TIAA-CREF and the Plan and Vanguard prohibited by 29


                                           105
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 106 of 117



U.S.C. §1106(a)(1)(C), and a transfer of Plan assets to, or use by or for the benefit of

TIAA-CREF and a transfer of Plan assets to, or use by or for the benefit of

Vanguard prohibited by 29 U.S.C. §1106(a)(1)(D). These transactions occurred each

time the Plan paid fees to TIAA-CREF and Vanguard directly and in connection

with the Plan’s investments in funds that paid revenue sharing to TIAA or

Vanguard.

      208.   Under 29 U.S.C. §1109(a), Defendants are liable to restore all losses to

the Plan resulting from these prohibited transactions, and to provide restitution of

all proceeds from these prohibited transactions, and are subject to other appropriate

equitable or remedial relief.

      209.   Each Defendant knowingly participated in these transactions, enabled

the other Defendants to cause the Plan to engage in these transactions, and knew of

these transactions and failed to make any reasonable effort under the

circumstances to remedy or discontinue the transaction. Thus, under 29 U.S.C.

§1105(a), each Defendant is liable for restoring all proceeds and losses attributable

to these transactions.

                                      COUNT V

          Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(A) & (B)

                 Unreasonable Investment Management Fees,

             Unnecessary Marketing and Distribution (12b-1) Fees

       and Mortality and Expense Risk Fees, and Performance Losses

      210.   Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.


                                          106
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 107 of 117



      211.   Defendants are responsible for selecting prudent investment options,

ensuring that those options charge only reasonable fees, and taking any other

necessary steps to ensure that the Plan’s assets are invested prudently. Defendants

had a continuing duty to evaluate and monitor the Plan’s investments on an

ongoing basis and to “remove imprudent ones” within a reasonable time. Tibble, 135

S. Ct. at 1829.

      212.   These duties required Defendants to independently assess whether

each option was a prudent choice for the Plan, and not simply to follow the

recordkeepers’ fund choices or to allow the recordkeepers to put their entire

investment lineups in the Plan’s menu. DiFelice, 497 F.3d at 423;

see Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 590, 595–96 (8th Cir. 2009).

      213.   In making investment decisions, Defendants were required to consider

all relevant factors under the circumstances, including without limitation

alternative investments that were available to the Plan, the recordkeepers’ financial

interest in having their proprietary investment products included in the Plan, and

whether the higher cost of actively managed funds was justified by a realistic

expectation of higher returns. Braden, 588 F.3d at 595–96; Tatum v. RJR Pension

Inv. Comm., 761 F.3d 346, 360 (4th Cir. 2014); 29 C.F.R. § 2550.404a-1(b);

Restatement (Third) of Trusts ch. 17, intro. note; id. § 90 cmt. h(2).

      214.   For years, Defendants retained as Plan investment options mutual

funds and insurance company variable annuities with higher expenses and




                                          107
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 108 of 117



historically poor performance relative to other investment options that were readily

available to the Plan at all relevant times.

      215.   Many of these options included unnecessary layers of fees that

provided no benefit to participants but significant benefits to TIAA-CREF and

Vanguard, including marketing and distribution (12b-1) fees and “mortality and

expense risk” fees.

      216.   Rather than consolidating the Plan’s over 75 investment options into a

core lineup in which prudent investments were selected for a given asset class and

investment style, as is the case with most defined contribution plans, Defendants

retained multiple investment options in each asset class and investment style,

thereby depriving the Plan of its ability to qualify for lower cost share classes of

certain investments, while violating the well-known principle for fiduciaries that

such a high number of investment options causes participant confusion and

inaction. In addition, Defendants, as fiduciaries required to operate as prudent

financial experts, Katsaros v. Cody, 744 F.2d 270, 279 (2d Cir. 1984), Defendants

knew or should have known that providing numerous actively managed duplicative

funds in the same investment style would produce a “shadow index” return before

accounting for much higher-than-index fund fees, thereby resulting in significant

underperformance. The Plan’s investment offerings included the use of mutual

funds and variable annuities with expense ratios far in excess of other options

available to the Plan, including lower-cost share classes with the identical

investment manager and investments and lower-cost insurance company variable




                                          108
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 109 of 117



annuities. A large majority of the Plan’s options were the recordkeepers’ own

proprietary investments. Thus, the use of these funds was tainted by the

recordkeepers’ financial interest in including these funds in the Plan, which

Defendants failed to consider. In so doing, Defendants failed to make Plan

investment decisions based solely on the merits of the investment funds and what

was in the interest of participants. Defendants therefore failed to discharge their

duties with respect to the Plan solely in the interest of the participants and

beneficiaries and for the exclusive purpose of providing benefits to participants and

their beneficiaries and defraying reasonable expenses of administering the Plan.

This was a breach of fiduciary duties.

      217.   Defendants failed to engage in a prudent process for monitoring the

Plan’s investments and removing imprudent ones within a reasonable period. This

resulted in the Plan continuing to offer excessively expensive funds with inferior

historical performance compared to superior low-cost alternatives that were

available to the Plan. As of March 31, 2016, 60% of the Plan’s investment options—

45 of the 76 options in the Plan—underperformed their respective benchmarks over

the previous 5-year period.

      218.   CREF Stock Account: Defendants included and retained the CREF

Stock Account despite its excessive cost and historical underperformance compared

to both passively managed investments and actively managed investments of the

benchmark, the Russell 3000 Index, which Defendants and TIAA told participants

was the appropriate benchmark.




                                         109
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 110 of 117



      219.     TIAA Real Estate Account: Defendants included and retained the

TIAA Real Estate Account despite its excessive fees and historical

underperformance compared to lower-cost real estate investments.

      220.     Had Defendants engaged in a prudent investment review process, it

would have concluded that these options were causing the Plan to lose tens of

millions of dollars of participants’ retirement savings in excessive and unreasonable

fees and underperformance relative to prudent investment options available to the

Plan, and thus should be removed from the Plan or, at a minimum, frozen to new

investments.

      221.     Total Plan losses will be determined at trial after complete discovery in

this case and are continuing.

      222.     Each Defendant is personally liable under 29 U.S.C. §1109(a) to make

good to the Plan any losses to the Plan resulting from the breaches of fiduciary

duties alleged in this Count and is subject to other equitable or remedial relief as

appropriate.

      223.     Each Defendant knowingly participated in the breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit a breach by failing to lawfully discharge its own fiduciary duties, knew of

the breach by the other Defendants and failed to make any reasonable effort under

the circumstances to remedy the breach. Thus, each Defendant is liable for the

losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).




                                           110
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 111 of 117



                                      COUNT VI

                 Prohibited transactions—29 U.S.C. §1106(a)(1)

                          Investment Services and Fees

      224.   Plaintiffs restate and incorporate herein the allegations of the

preceding paragraphs.

      225.   As the Plan’s providers of investment services, TIAA-CREF and

Vanguard are parties in interest. 29 U.S.C. §1002(14)(B).

      226.   By placing investment options in the Plan in investment options

managed by TIAA-CREF and Vanguard in which the entirety of the Plan’s $3.8

billion in assets were invested, Defendants caused the Plan to engage in

transactions that Defendants knew or should have known constituted an exchange

of property between the Plan and TIAA-CREF and the Plan and Vanguard

prohibited by 29 U.S.C. §1106(a)(1)(A); a direct or indirect furnishing of services

between the Plan and TIAA-CREF and the Plan and Vanguard prohibited by 29

U.S.C. §1106(a)(1)(C); and transfers of the Plan’s assets to, or use by or for the

benefit of TIAA-CREF and transfers of the Plan’s assets to, or use by or for the

benefit of Vanguard prohibited by 29 U.S.C. §1106(a)(1)(D). These transactions

occurred each time the Plan paid fees to TIAA-CREF and Vanguard in connection

with the Plan’s investments in TIAA-CREF and Vanguard investment options.

      227.   Under 29 U.S.C. §1109(a), Defendants are liable to restore all losses to

the Plan resulting from these prohibited transactions, and to provide restitution of

all proceeds of these prohibited transactions, and are subject to other appropriate

equitable or remedial relief.


                                          111
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 112 of 117



      228.   Each Defendant knowingly participated in these transactions, enabled

the other Defendants to cause the Plan to engage in these transactions, and knew of

these transactions and failed to make any reasonable effort under the

circumstances to remedy or discontinue the transaction. Thus, under 29 U.S.C.

§1105(a), each Defendant is liable for restoring all proceeds and losses attributable

to these transactions.

                                    COUNT VII

                         Failure to Monitor Fiduciaries

      229.   Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

      230.   This Count alleges breach of fiduciary duties against the University of

Pennsylvania.

      231.   The University of Pennsylvania has the responsibility to control and

manage the operation and administration of the Plan, including the selection of

Plan service providers, with all powers necessary to enable it to properly carry out

such responsibilities.

      232.   A monitoring fiduciary must ensure that the monitored fiduciaries are

performing their fiduciary obligations, including those with respect to the

investment and holding of plan assets, and must take prompt and effective action to

protect the plan and participants when they are not.

      233.   To the extent any of the University of Pennsylvania’s fiduciary

responsibilities were delegated to another fiduciary, including the Investment

Committee and the Plan Administrator, the University of Pennsylvania’s


                                         112
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 113 of 117



monitoring duty included an obligation to ensure that any delegated tasks were

being performed prudently and loyally.

      234.   The University of Pennsylvania breached its fiduciary monitoring

duties by, among other things:

             a.    failing to monitor its appointees, to evaluate their performance,

      or to have a system in place for doing so, and standing idly by as the Plan

      suffered enormous losses as a result of its appointees’ imprudent actions and

      omissions with respect to the Plan;

             b.    failing to monitor its appointees’ fiduciary process, which would

      have alerted any prudent fiduciary to the potential breach because of the

      excessive administrative and investment management fees and consistently

      underperforming Plan investments in violation of ERISA;

             c.    failing to ensure that the monitored fiduciaries had a prudent

      process in place for evaluating the Plan’s administrative fees and ensuring

      that the fees were competitive, including a process to identify and determine

      the amount of all sources of compensation to the Plan’s recordkeeper and the

      amount of any revenue sharing payments; a process to prevent the

      recordkeeper from receiving revenue sharing that would increase the

      recordkeeper’s compensation to unreasonable levels even though the services

      provided remained the same; and a process to periodically obtain competitive

      bids to determine the market rate for the services provided to the Plan;




                                         113
     Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 114 of 117



                 d.       failing to ensure that the monitored fiduciaries considered the

      ready availability of comparable and better performing investment options

      that charged significantly lower fees and expenses than the Plan’s

      investments; and

                 e.       failing to remove appointees whose performance was inadequate

      in that they continued to maintain imprudent, excessively costly, and poorly

      performing investments, all to the detriment of Plan participants’ retirement

      savings.

      235.       As a consequence of these breaches of the fiduciary duty to monitor,

the Plan suffered substantial losses. Had the University of Pennsylvania discharged

its fiduciary monitoring duties prudently as described above, the Plan would not

have suffered these losses. Therefore, as a direct result of the breaches of fiduciary

duty alleged herein, the Plan, and the Plaintiffs and the other Class members, lost

tens of millions of dollars of their retirement savings.

                                  JURY TRIAL DEMANDED

      236.       Pursuant to Fed.R.Civ.P. 38 and the Constitution of the United States,

Plaintiffs demand a trial by jury.

                                    PRAYER FOR RELIEF

        For these reasons, Plaintiffs, on behalf of the Plan and all similarly situated

Plan participants and beneficiaries, respectfully request that the Court:

                     find and declare that the Defendants have breached their fiduciary

                      duties as described above;




                                               114
Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 115 of 117



        find and adjudge that Defendants are personally liable to make good

         to the Plan all losses to the Plan resulting from each breach of

         fiduciary duty, and to otherwise restore the Plan to the position it

         would have occupied but for the breaches of fiduciary duty;

        determine the method by which Plan losses under 29 U.S.C. §1109(a)

         should be calculated;

        order the Defendants to pay the amount equaling all sums received

         by the conflicted recordkeepers as a result of recordkeeping and

         investment management fees

        order Defendants to provide all accountings necessary to determine

         the amounts Defendants must make good to the Plan under §1109(a);

        remove the fiduciaries who have breached their fiduciary duties and

         enjoin them from future ERISA violations;

        surcharge against Defendants and in favor of the Plan all amounts

         involved in any transactions which such accounting reveals were

         improper, excessive or otherwise in violation of ERISA;

        reform the Plan to include only prudent investments;

        reform the Plan to obtain bids for recordkeeping and to pay only

         reasonable recordkeeping expenses;

        require the fiduciaries to select investments and service providers

         based solely on the merits of those selections, and avoid bundling




                                   115
    Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 116 of 117



              funds or products serving the interests of the recordkeepers and

              other service providers;

             certify the Class, appoint each of the Plaintiffs as a class

              representative, and appoint Schlichter, Bogard & Denton LLP as

              Class Counsel;

             award to the Plaintiffs and the Class their attorney’s fees and costs

              under 29 U.S.C. §1132(g)(1) and the common fund doctrine;

             order the payment of interest to the extent it is allowed by law; and

             grant other equitable or remedial relief as the Court deems

              appropriate.

November 21, 2016                     Respectfully submitted,


                                      David M. Promisloff (ID# 200971)
                                      PROFY PROMISLOFF & CIARLANTO, P.C.
                                      Joseph M. Profy (ID# 77141)
                                      Jeffrey J. Ciralanto (ID#205838)
                                      100 N. 22nd Street, Unit 105
                                      Philadelphia, PA 19103
                                      Phone: (215) 259-5156
                                      Fax: (215) 600-2642
                                      david@prolawpa.com
                                      profy@prolawpa.com
                                      ciarlanto@prolawpa.com

                                      Local Counsel for Plaintiffs

                                      SCHLICHTER, BOGARD & DENTON, LLP
                                      Jerome J. Schlichter, MO No. 32225*
                                      Michael A. Wolff, MO No. 38207*
                                      Troy A. Doles, MO No. 47958*
                                      Heather Lea, MO No. 49872*
                                      Kurt C. Struckhoff, MO No. 61873*
                                      Stephen M. Hoeplinger, MA No. 676219*


                                         116
Case 2:16-cv-04329-GEKP Document 27 Filed 11/21/16 Page 117 of 117



                            100 South Fourth Street, Ste. 1200
                            St. Louis, MO 63102
                            Phone: (314) 621-6115
                            Fax: (314) 621-5934
                              *Admitted Pro Hac Vice

                            Lead Counsel for Plaintiffs




                               117
